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                         ASSET PURCHASE AGREEMENT


                                    between


                             VideoMining Corporation


                                       and


                                VMC ACQ. LLC


                                  May 26, 2021




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                                  ASSET PURCHASE AGREEMENT

           Tins ASSET PURCHASE AGREEMENT is made and entered into as of May 26, 2021
    between VIDEOMININC CoIwow&TION, a Delaware corporation (“Seller”), wilh its principal
    corporate offices at 403 S. Allen Street, Suite 101, State College, PA 16801 and ‘MC AcQ., LLC,
    a Pennsylvania limited liability company, with its principal corporate offices at 2120 Old
    Gatesburg Road, Stale College, PA 16803 (‘Buyer”).

                                             BACKGROUND

            A.      Seller is engaged in the business of providing innovative in-store behavior analytics
    services to retailers and Consumer Packaged Goods companies (tile “Business”).

            B.     On February 4, 2020, (the “Petition Date”), Seller filed a voluntary petition for
    relief under chapter 11 of title II of the United States Code (Il U.S.C. § 101 at seq., the
    “Bankruntcy Code”) in the United States Bankruptcy Court for the Western District of
    Pennsylvania (the “Bankruptcy Court”) commencing its bankruptcy case (case No. 20-20425-
    OLT) the “Bankruptcy Case”). As of the date of this Agreement, Seller continues to operate the
    Business and manage its properties and aiThirs as a debtor in possession pursuant to sections
     1107(a) and 1108 of the Bankruptcy Code.

           C.     Buyer desires to purchase, and Seller desires to sell, convey, assign and transfer to
    Buyer, the Purchased Assets (as defined below), subject to the terms and conditions set forth in
    this Agreement.
                                              AGREEMENT

          NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
    covenants and agreements herein contained, the Parties hereby agree as follows:
                                               ARTICLE I
                                              DEFINITIONS

            For the purposes of this Agreement, in addition to those capitalized tents defined
    elsewhere throughout this Agreement, (he following capitalized terms shall have the meanings set
    forth below:

            “Accounts Receivable” shall mean all accounts receivable or other rights to payment of
    Seller of any kind or nature including work and services in process.

            “Affiliate” shall mean, with respect to any specified Person, any other Person who, directly
    or indirectly, owns or controls, is under common ownership or control with, or is owned or
    controlled by, such specified Person. Without limiting the generality of the foregoing, a Person
    shall be deemed to “own” another Person if it owns, directly or indirectly, fifty (50%) or more of
    the capital stock, membership interest, or other equity interest of such other Person generally
    entitled to vote, without regard to specified contingencies, for the election of directors or
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    equivalent governing body olsuch other Person, provided, however, Buyer shall not be considered
    an Affiliate of Seller and Seller shall not be considered an Amliate of Buyer.

           “Agreement” shall mean this Asset Purchase Agreement, including all exlubits and
    schedules hereto, as may be amended.

           “Assigned Contracts” as defined in Section 2.2.

           “Avoidance Actions” means any and all rights, claims, causes of action and rights to
    recover or avoid transfers or to avoid any lien or interest that Seller may have under ChapterS of
    the Bankruptcy Code or otherwise, including, but not limited to, sections 506, 510, 522, 541, 542,
    543, 544, 545, 546, 547, 548, 549, 550, 551 or 553 of the Bankruptcy Code or applicable non-
    bankruptcy law or state law, and the proceeds thereof, or otherwise to exercise the avoidance
    powers provided under the Bankruptcy Code.

            “BankmDtcv Rules” shall mean the Federal Rules of Bankruptcy Procedure, Ihe local rules
    of the Bankruptcy Court, and any Orders of the Bankruptcy Court, as in effect from time to time.

            “Breach” means, with respect to any representation, warranty, covenant, or obligation, any
    material misstatement or inaccuracy in, or any material failure to perform or comply with, the
    representation, warranty, covenant, or obligation within any applicable cure period.

           “Business” as defined in Section A of the “Background” paragraph of this Agreement.

            “Business Day” shall mean any day of the year other than: (i) any Saturday or Sunday; or
    (ii) any other day on which banks located in Pittsburgh, Pennsylvania, are closed for business.

           “Cash” shall mean all cash, certificates of deposit, bank accounts and other cash
    equivalents or short-term investments, together with all accrued but unpaid interest thereon.

           “Closing” as defined in Section 11.1.

           “Closing Date” as defined in Section 11.1.

             “Contract” shall mean any contract, lease, easement, license, sales order, purchase order,
    supply  agreement,  or any other agreement, commitment or understanding whether oral or written,
    other than Permits.

            “Cure Obligations” shall mean all obligations to counterparties to the Assigned Contracts
    as oftlie Petition Date which must be satisfied in order to effectuate, pursuant to section 365(b)(l)
    of the Bankruptcy Code, the assumption by Seller and assignment to Buyer of the Assigned
    Contracts under Section 2.2 of this Agreement.

           “Deposit” means the non-reftmndable deposit of $100,000 made by Buyer pursuant to the
    terms of that certain Letter of Intent dated May II, 2021, submitted by Buyer to Seller and
    approved by the Court on May 12, 2021.
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            “Dollars” or numbers preceded by the symbol “5” shall mean amounts in United States
    Dollars.
            “Encumbrance” shall mean any charge, claim, condition, equitable interest, lien (including
    without limitation any lien held or asserted by any Governmental Authority), option, pledge,
    security interest, mortgage, right of way, easement, encroachment, servitudes, right of first option,
    right of first reftisal, or similar restriction, including restrictions of use, voting (in the case of any
    security or equity interest), transfer, receipt of income or exercise of any attribute of ownership, or
    other encumbrance, option or defect in title of every type and description, whether imposed by
    law, agreement, understanding or otherwise.

            “Escrow Acent” means The Law Office of RobertO Lampl, acting in its capacity as escrow
    agent to hold the Deposit in its IOLTA or other trust account.
           “Excluded Liabilities” shall mean all obligations and liabilities of Seller that are not
    included in the Assumed Liabilities.
             “Final Order” shall mean an Order as to which there is no appeal, motion for
    rcconsideration, stay or similar request for relief pending, and as to which the time period to seek
    or file any such appeal, motion for reconsideration, stay or similar request for relief has expired.
            “Govemmental Authority” shall mean the government of the United States, or any other
    foreign country or any state, provincial or political subdivision thereof and any entity, body or
    authority exercising executive, legislative, judicial, regulatory or administrative firnctions of or
    pertaining to government.
            “Intellectual Property” shall mean intellectual property of every kind and nature, including,
    without limitation, all inventions, information, data, customer lists and related information,
    samples, specifications, plans, drawings, blue prints, compositions, processes, designs, formulas,
    technical and business information, and know-how, including confidential information and trade
    secrets (whether or not patentable or reduced to practice), all United States and foreign patents,
    including without limitation the Patents, and petty patents (including continuations, continuations-
    in-part, divisions, reissues, re-examinations, extensions and renewals thereofl and patent
    applications, all United States and foreign registered and unregistered, brand names, trademarks,
    and service marks, logos and designs (and registrations and applications for registration of the
    same), domain names and all goodwill symbolized thereby or associated therewith, and copyrights
    and copyright registrations (and applications for the same) relating thereto, including computer
    soflware and mask works, and all extensions or renewals thereof, United States and foreign
    registrations and applications to register copyrights, technical manuals and documentation made
    or used in connection with any of the foregoing.

            “Ln” shall mean any law, statute, code, regulation, ordinance, or rule enacted or
    promulgated by any Governmental Authority.
           “Loss” or “Losses” shall mean any and all damages (but excluding consequential, punitive
    and treble damages), losses, actions, proceedings, causes of action, obligations, liabilities,
    responsibilities, claims, encumbrances, penalties, demands, assessments, judgments, costs and

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    expenses including, without limitation, court costs and reasonable attorneys’, experts’ and
    consultants’ fees and disbursements.

             “Material Adverse Effect” means a state of facts, events, change or effect with respect to
    Seller that results in a material adverse effect on the Purchased Assets taken as a whole; but
    excluding any state of facts, event, change or effect caused by. attributable or relating to:
    (i) changes or conditions affecting Seller’s industry generally; (ii) changes in economic, regulatory
    or political conditions generally; (iii) the filing and administration of the Bankruptcy Case (except
    for the conversion of the Bankruptcy Case to a proceeding under chapter 7); or (iv) the
    announcement of this Agreement.

             “Order” menns any order, injunction, judgment, decree, ruling, writ, assessment or
    arbitration award.

            “Ordinary Course of Business” means an action taken or omitted to be taken by a Person
    only if that action or omission is consistent with the post practices of such Person.
            “Parties” shall mean both Seller and Buyer, each of whom individually maybe referred to
    as a

            “Patents” shall mean those certain patent and patent applications issued in the name of
    Seller and shown on Schedule 2.1(e).

            “Permits” shall mean permits, tariffs, authorizations, licenses, certificates, variances,
    interim permits, approvals, franchises and rights under any Law or otherwise issued or required by
    any Governmental Authority and any applications for the foregoing which are currently used or
    otherwise necessary for Seller to engage in the operation of the Business as currently conducted.
            “Person” shall mean any individual, corporation, business trust, proprietorship, firm,
    partnership, limited partnership, Limited liability partnership, limited liability company, trust,
    association,joint venture, Governmental Authority or other entity.

            “Purchased Asset(s)” as defined in Section 2.1 hereof,

             “Sale Order” shall mean an Order of the Bankruptcy Court that, among othcr things
    approves, pursuant to Sections 363 and 365 of the Bankruptcy Code, with findings that Buyer
    acted in good faith and is afforded the benefits of Section 363(m) of the Bankruptcy Code: (i) the
    execution, delivery and performance by Seller of this Agreement, and the other instruments and
    agreements contemplated hereby; (ii) the sale of the Purchased Assets to Buyer free and clear of
    all Encumbrances on the terms set forth herein; and (iii) the performance by Seller of its obligations
    under tins Agreement, including, without limitation, the assumption and assignment of the
    Assigned Contracts.

            “Tax” (and, with correlative meaning, “Taxes” and “Taxable”) shall mean any federal,
    state, provincial, county, local or foreign taxes, charges, fees, duties (including customs duties),
    levies or other assessments, including income, gross receipts, net proceeds, ad valorem, turnover,
    real and personal property (tangible and intangible), sates, use, franchise, excise, value added,
    alternative, add-on minimum, stamp, leasing, lease, user, transfer, ftiel, excess profits,
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    occupational, interest equalization, windfall profits, license, payroll, environmental, capital stock,
    disability, severance, employee’s income withholding, other withholding, unemployment and
    Social Security Taxes, which are imposed by any Governmental Authority, and such term shall
    include any interest, penalties, fines or additions to tax attributable thereto or associated therewith,
    and shall include any transferee or successor liability in respect of Taxes (whether by contract or
    otherwise).

            “Tax Code” shall mean the Internal Revenue Code of 1986, as amended, and the temporary
    and final regulations promulgated thereunder.

           “Tax Return” shall mean any report, return, statement, notice, form, declaration, claim for
    refund or other document or information filed, submitted to, or required to be supplied to a
    Governmental Authority in connection with the determination, assessment, collection or payment
    of any Tax, including any schedule or attachment thereto, and including any amendment thereof.

            “Third Party” shall mean a Person other than Buyer, Seller) or their respective Affiliates.

            “Transferred Employees” shall have the meaning set forth in Section 10.1(a).

            “Unearned Revenue” shall mean amounts collected by Seller prior to the Closing Date for
    services that have not been provided prior to the Closing Date, including any payments received
    for a monthly or annual subscription, for that part of the month or year from and after the Closing
    Date.
                                       ARTICLE II
                         PURCHASE AND SALE OF PURCHASED ASSETS;
                           ASSUMPTION OF ASSUMED LIABILITIES

            2.)     Purchased Assets. Subject to and upon the terms and conditions set forth in this
    Agreement, at the Closing, Seller shall sell, assign, convey, transfer and deliver to Buyer, and
    Buyer shall purchase, acquire and take assignment and delivery of, all of Seller’s right, title and
    interest in and to the Purchased Assets and all personal property located therein, including the
    following assets, properties and rights, as they exist at the time of the Closing:

                    (a)     Equipment and Fixed Assets, All fixtures, machinery, equipment, fixed
    assets, furniture, tools, maintenance equipment, rolling stock, mobile equipment, electrical,
    mechanical, electronic, computers, sothvare, telecommunications, servers, and other equipment
    and fixed assets of every kind owned by Seller wherever located and related to the operation of
    the Business (collectively, the “Equipment and Fixed Assets”), including without limitation, the
    Equipment and Fixed Assets set forth on Schedule 2.1(a) and any personal property subject to a
    financing/capital lease;

                  (b)     lnventoiv of Purchased Assets. All inventory of any kind or nature,
    including supplies, raw materials, spare pads, packaging materials, finished goods, and other
    consumables and inventories owned by Seller and used, or intended to be used, in the operation of
    the Purchased Assets and/or located at the Purchased Assets (collectively, the “Inventory”);



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                    (c)    Information and Records Related to Purchased Assets. To the extent legally
    transferable, all books and records used in the operation of the Purchased Assets (“Books and
    Records”) that are in Seller’s care, custody or control, including, without limitation, customer lists,
    safety and training records, equipment manuals, drawings, engineering materials, and operating
    data;

                    Cd)     Permits Related to Purchased Assets. To the extent legally transferable,
    without cost to Seller, all Permits and applications for Permits that are necessary to the operation
    of the Purchased Assets as presently operated and conducted. Buyer shaLl pay any fees required
    to transfer such Permits;

                    (e)    Intellectual Property Assets. The Intellectual Property listed on Schedule
    2.1(e) and all goodwill, if any, relating to the Purchased Assets;

                   (fl      Goodwill. All goodwill, payment intangibles and general intangible assets
    and rights of Seller to the extent associated with the Purchased Assets;

                     (g)    Rights Under Confidentiality, Non-Disclosure. Non-Solicitation and Non-
    Competition Agreements. All rights of Seller under any and all confidentiality, non-disclosure,
    non-solicitation and/or non-competition agreements executed by Buyer and any Third Patty
    (including prospective current or former employees and/or other prospective third parties) in favor
    of Seller related to operation of the Purchased Assets or the sale of the Purchased Assets. For
    purposes ofcertainty, nothing in this Agreement (including this Section 2.1(h)) or any documents
    exccuted in connection with this Agreement or the consummation of the transactions contemplated
    by this Agreement shall be deemed to be an offer of employment by Buyer, assumption of any
    liability, or otherwise create a right to employment with Buyer in any employee of Seller; and

                    (h)     Other Assets Related to Purchased Assets. All other non-cash tangible and
    intangible assets owned and/or used by Seller in the operation of the Purchased Assets and that are
    located at the Purchased Assets (not specifically excluded in Section 2.3 below), including all
    internet domain names, email domains, post office box numbers, telephone and facsimile numbers
    and other listings and numbers used in connection with the Purchased Assets, the transfer of which
    shall be arranged by and paid for by Buyer.

           All of the foregoing assets described in this Section 2.1, together with the Assigned
    Contracts described in Section 2.2 are referred to herein collectively as the “Purchased Asset(s)”.

             2.2     Assignment of Contracts. Subject to the terms and conditions of this Agreement
    and the need to obtain any required consent or modifications required by Buyer from any Third
    Party, at the Closing SeliershaH assign and transfer to Buyer and Buyer shall assume, all ofSeller’s
    right, title and interest in and to the Contracts listed on Schedule 2.2 (collectively, the “Assigned
    Contracts”). As of the Closing, ScIler shall assume pursuant to Section 365(a) of the Banlcruptcy
    Code and sell and assign to Buyer pursuant to Sections 363(b), (fl and (m) and Section 365W of
    the Bankruptcy Code each of the Assigned Contracts. Notwithstanding anything in this Agreement
    to the contrary, Buyer may, from time to time and in its sole and absolute discretion, amend or
    revise the list of Assigned Contracts listed on Schedule 2.2 in order to add or eliminate any
    Contract to or from such Schedule up to the Closing (the “Designation Deadline”). Automatically

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    upon the addition of any Contract to Schedule 2.2 by Buyer in accordance with the previous
    sentence, it shall be an Assigned Contract for nil purposes of this Agreement, provided however,
    Seller shall not be required to assume and assign such added Assigned Contract unless and until
    the Bankruptcy Court enters an Order approving such assumption and assignment. Automatically
    upon the deletion ofany Contract from Schedule 2.2 by Buyer in accordance with the first sentence
    of this Section 2.2, it shall no longer be an Assigned Contract and shall become an Excluded Asset
    for all purposes of this Agreement, and no liabilities arising thereunder or relating thereto shall be
    nssumed by Buyer or be the obligation, liability or responsibility of Buyer. If any Contract is
    added to the list of Assigned Contracts, then Seller shall lake such steps as are reasonably necessary
    to cause such Contract to be assumed and assigned to Buyer as promptly as possible at or following
    the Closing. If Buyer discovers a Contract following the Closing that Buyer wishes to assume
    (any such Contract, n “Previously Omitted Contract”), Buyer shall have the right, in its sole and
    absolute discretion, to have to have such Previously Omitted Contract(s) assumed and assigned to
    the Buyer (for no additional consideration), and upon any assumption and assignment of such
    Previously Omitted Contract to Buyer, such Contract shall become an Assigned Contract,proi’fded
    Buyer shall be responsible for and shall promptly pay all outstanding costs, if any, associated
    therewith.

            2.3     Excluded Assets. Notwithstanding anything contained in this Agreement to the
    contrary, the Purchased Assets shall not include and Seller shall retain all of its right title and
    interest in and to the following (collectively, the “Excluded Assets”):

                    (a)    Cash, cash equivalents and accounts receivable;

                    (b)    Unbilled services at the time of closing:

                  (c)    All existing or potential causes of action and claims against third panics
    (including Avoidance Actions), whether in law or in equity (“Excluded Claims”);

                    Cd)     Personnel, business and other records that Seller is required by Law to retain
    in its possession, or which relate to the Excluded Claims, and all corporate seals, minute books,
    charter documents, stock transfer records, record books, original Tax and financial records and
    such other files, books and records relating to the Excluded Assets or to the organization, existence
    or capitalization of Seller;

                    (e)    Any asset in which Seller first acquires a transferable interest following the
    Closing;

                    (fl     Seller’s rights under this Agreement;

                    (g)    Any rights to tax refunds;

                    (h)    The assets listed on Schedule 2.3(h); and

                    (i)     Stock and membership interests.

           2.4   Assumed Liabilities. Buyer shall assume only: (a) the Obligations under the
    Assigned Contracts as set forth on Schedule 2.4, and (b) those liabilities and obligations first

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    arising under the Assigned Contracts after the Closing (collectively, the “Assumed Liabilities”).
    Except for the Assumed Liabilities, Buyer shall have no liability whatsoever for any liabiLities or
    obligations of Seller and all such liabilities and obligations shall be and remain liabilities and
    obligations of Seller.

             2.5     Excluded Liabilities. Notwithstanding any provision in this Agreement to the
    contrary, Buyer is assuming only the Assumed Liabilities and is not assuming, and shall not be
    deemed to have assumed, any Liabilities of Seller of whatever nature (whether arising prior to, at
    the time of, or subsequent to Closing) that are not Assumed Liabilities. Seller shall be solely and
    exclusively liable for, and shall pay, perform, discharge and otherwise satisfy, any and all such
    other liabilities of Seller, including those relating to, arising out of or in connection with the
    operation of the Business or the Purchased Assets (including the use and ownership thereof) at any
    time prior to the Closing, and those liabilities set forth below (collectively, the “Excluded
    Liabi lilies”):

                    (a)     any and all liabilities of Seller relating to or otherwise arising, whether
    before, on or after the Closing, out of, or in connection with, any of the Excluded Assets;

                  (b)    any and all liabilities of Seller related to Contracts and/or Permits that are
    not Assigned Contracts;

                    (c)     any and all liabilities arising under or related to the Assigned Contracts that
    arose prior to the Closing Date, except for the those set forth on Schedule 2,4;

                   (d)     any and all liabilities for wages, bonuses, retention bonuses or payments,
    employee benefits, accrued vacation, or other accrued or vested paid time off, assessments,
    severance, other employment compensation, or other claims of, for, from or related to any
    employees, or employer Taxes, including without limitation, any arising from the vesting of any
    equity grants upon the Closing of the transactions contemplated hereby, or unpaid amounts to any
    consultants of Seller accrued or arising prior to the Closing;

                   (e)      any and all liabilities for unfunded or underftinded pension obligations or
    withdrawal liability, including any such liabilities that arose pursuant to a Contract (including an
    Assigned Contract) or applicable Law;

                    (0      any and all warranty and return obligations associated with products or
    business activity prior to the Closing;

                     (g)    any and all product liability claims associated with products or business
    activity prior to the Closing;

                     (h)    any and all liabilities, including liabilities for Taxes, whether direct or as a
    result of successor liability, transferee liability, joint and several liability or contractual liability,
    attributable to the Purchased Assets and/or the operation of the Business prior to the Closing Date;

                   (i)     any and all costs and expenses incurred by Seller incident Co the negotiation
    and preparation of this Agreement and the transactions contemplated hereby and any liability of


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    Seller to pay any fees or commissions to any broker, finder or agent with respect to the transactions
    contemplated hereby; and

                    0)      any and all liabilities of Seller in respect of any federal, state, provincial,
    regional, foreign or local Law.

                                          ARTICLE III
                                  PURCHASE PRICE AND PAYMENT

           3.1    Purchase Price. The aggregate consideration for the sale, transfer, assignment and
    conveyance of the Purchased Assets will be Six Hundred Filly Thousand and no/lOO Dollars
    (S650,000.O0) (the “Purchase Price”), pjj the assumption by Buyer of the Assumed Liabilities
    (the Purchase Price, together with the assumption of the Assumed Liabilities, the “Total
    Consideration”).

            3.2    Deposit. Buycr has delivered to Escrow Agent a non-refUndable Deposit of One
    Hundred Thousand Dollars ($100,000). Seller shall be authorized to request the Escrow Agent to
    disburse fUnds from the Deposit prior to the Closing Date to be used by Seller for operating
    expenses to the extent that Seller has first exhausted its cash on hand and its capacity under its
    debtor-in-possession loan, which shall be consistent with the Court approved budget. Seller shall
    provide Buyer with simultaneous notice of each request for withdrawal. This deposit will be
    credited against the Purchase Price at Closing

            3.3   Payment of Purchase Price. At the Closing, Buyer shall deliver, by wire transfer of
    immediately available funds, a Cash payment in the amount equal to the Purchase Price reduced
    by the amount of the Deposit (the “Closine Payment”) pursuant to the terms of this Agreement.

            3.4     Unearned Revenue. Within five (5) Business Days after the Closing Date, Seller
    shall provide Buyer with its determination of the Unearned Revenue. Buyer shall review such
    report and provide Seller with any disagreements within fifteen (15) Business Days after the report
    is delivered to Buyer. Ofle Hundred and Twenty (120) Days after the Closing Date, Seller shall
    provide Buyer with a report showing: (i) the amount of Accounts Receivable collected; and (ii)
    the conversion of all current assets into Cash; reduced by (iii) the repayment of the Debtor-In-
    Possession Loan, and (iv) all court fees and post-filing Seller expenses that have been paid
    including, Cure Obligations, with the result, if positive, being called “Available Cash”. Seller will
    pay Buyer an amount of the Available Cash up to the amount of Unearned Revenue. If Available
    Cash is less than the Unearned Revenue, the remaining Unearned Revenue will be considered as
    an Assumed Liability and part of the Total Consideration.
                                     ARTICLE IV
                      REPRESENTATIONS AND WARRANTIES OF SELLER

            Seller represents and warrants as of the date hereof and as of the Closing Date as follows:

            4.1    Existence. Good Standing. Seller is a corporation duly organized, validly existing
    and in good standing under the laws of the State of Delaware and is qualified to do business in the
    Commonwealth of Pennsylvania. Seller has all requisite corporate power and authority to own its
    properties and assets and to conduct its businesses as presently conducted.
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            4.2      Authorization and Validity. Seller has all requisite corporate power and authority
    to enter into this Agreement and any related agreements to which Seller is or wilt become a party
    and, subject only to the Bankruptcy Court’s entry of the Sale Order, the execution and delivery of
    this Agreement and any related agreements to which Seller is or will become a party and the
    performance of Seller’s obligations hereunder and thereunder have been, or on the Closing Date
    will be, duly authorized by all necessary corporate action and no other corporate proceedings on
    the part of Seller arc necessary to authorize such execution, delivery and performance. This
    Agreement and any related agreements to which Seller is or will become a party have been, or on
    the Closing Dale will be, duly executed by Seller and, subject only to the Bankruptcy Court’s entry
    of the Sale Order, constitute, or will when executed and delivered constitute, Seller’s valid and
    binding obligation, enforceable against Seller in accordance with their terms.

            4.3     Consents. Subject to the entry of the Sale Order and satisfaction ofthe terms set
    forth herein, and except as set forth on Schedule 4.3, no consent of any Person not a party to this
    Agreement or any Governmental Authority (other than in connection with Seller’s assignment of
    Permits) is required in connection with the execution, delivery and perfomiance of this Agreement
    by Seller, or the consummation of the transactions contemplated hereby.

             4.4     No Conflict or Violation. Subject only to the Bankruptcy Court’s entry of the Sale
    Order and receipt of any required consents, the execution, delivery and performance by Seller of
    this Agreement do not and will not, (a) violate or conflict with any provision or Seller’s
    organizational documents, (b) violate any provision of Law, or any Order, judgment or decree of
    any Governmental Authority applicable to Seller, Cc) result in or require the creation or imposition
    of any Encumbrances on any of the Purchased Assets; or (d) violate or result in a Breach of or
    constitute (with due notice or lapse of time or both) a default under any Contract to which Seller
    is a party or by which Seller is bound or to which the any of Seller’s properties or assets is subject.

            4.5     Title to Purchased Assets. Subject only to the entry of the Sale Order, at the
    Closing,  Seller will have good and marketable title to the Purchased Assets which shall be
    transferred Buyer free and clear ofaiJ Encumbrances.
                to

           4.6     Permits, Schedule 4.6 sets forth a list of all Permits held by Seller which are
    necessary to conduct the Business as currently conducted,

            4.7      Litigation. Except for those maflers described on Schedule 4.7 and except for
    amounts listed on Seller’s bankruptcy schedules and claims or pleadings filed with the Bankruptcy
    Court, there is no legal, administrative or arbitration proceeding, suit, action of any nature or Order,
    judgment, writ, injunction, award, or decree, claim, investigation or inquiry (“Litigation”) relating
    to any Purchased Assets or the transactions contemplated by this Agreement, pending or asserted
    against Seller, by or before any Governmental Authority or by or on behalf of any Third Party.

            4.8    Brokers. Seller has not used any broker or tinder in connection with the
    transactions contemplated hereby.

            4.9   Employees. Schedule 4.9 sets forth a true and complete list of individuals that are
    currently employed by Seller in the Business and all individuals that are on temporary or
    permanent lay-off or furlough status, including name, title, date of hire, former or current base

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    salary or wage rate, position, title, and whether such employee is out on disability or other
    permitted leaves of absence and!or is on temporary or permanent lay-off or furlough statis.
    Schedule 4.9 sets forth any labor or collective bargaining agreements that Seller is a party to.

           4.10 Assianed Contracts. The Assigned Contracts are in full force and effect and Seller
    has no knowledge that any countetparty to any of the Assigned Contracts has provided any notice
    of termination, Seller has performed its responsibilities under the Assigned Contracts as of the
    date hereof and as of the Closing Date.

            4.11 Exclusivity and Survival of Representations, The representations and warranties
    made by Seller In this Article IV are in lieu of, and are exclusive of, all other representations and
    warranties by Seller, including but not limited to any warranty or representation as to the condition
    or suitability of the Purchased Assets, which are being conveyed on an “AS IS, WHERE IS” basis.
    Seller hereby disclaims any representations or warranties, express or implied, not set forth in this
    Article IV or in any document to be delivered by Seller at Closing.

                                     ARTICLE V
                      REPRESENTATIONS AND WARRANTIES OF BUYER

            Buyer represents and warrants as of the dale hereof and as of the Closing Date:

            5,)     Existence and Good Standing, Buyer is a limited liability company duly organized,
    validly existing and in good standing under the laws of the Commonwealth of Pennsylvania.

             5.2   Authorization and Validity. Buyer has all requisite power and authority to enter
    into this Agreement and any related agreements to which Buyer is or will become a party and the
    execution and delivery of this Agreement and any related agreements to which Buyer is or will
    become a party and the performance of Buyer’s obligations hereunder and (hereunder have been,
    or on the Closing Date will be, duly authorized by all necessary corporate action and no other
    proceedings on the part of Buyer are necessary to authorize such execution, delivery and
    performance. This Agreement and any related agreements to which Buyer is or wiLl become a
    party have been, or on the Closing Date will be, duly executed by Buyer and constitute, or will
    when executed and delivered constitute, Buyer’s valid and binding obligation, enforceable against
    Buyer in accordance with their terms.

           5.3    Consents. No consent of any Person not a Party to this Agreement or any
    Governmental Authority (other than in connection with Seller’s assignment of Permits) is required
    in connection with the execution, delivery and performance of this Agreement by Buyer, or the
    consummation of the transactions contemplated hereby.

           5.4     No Conflict or Violation. The execution, delivery and performance by Buyer of
    this Agreement does not: (I) violate or conflict with any provision of Buyer’s organizational
    documents; (ii) violate any provision of Law, or any Order, judgment or decree of any court or
    Governmental Authority applicable to Buyer; or (iii) violate or result in a Breach of or constitute
    (with due notice or lapse of time or both) a default under any Contract to which Buyer is party or
    by which Buyer is bound or to which any of Buyer’s properties or assets is subject.


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            5.5    Litigation. There is no Litigation orany nature pending or asserted against Buyer
    by or before any Governmental Authority or by or on behalf of any Person which questions or
    challenges the validity of this Agreement or any of the transactions contemplated hereby or which,
    if adversely determined, would adversely affect the ability of Buyer to consummate the
    transactions contemplated hereby.

            5.6    Brokers. Buyer has not used any broker or finder in connection with the
    transactions contemplated hereby.

                                     ARTJCLE VI
                    PRE-CLOSING COVENANTS AND OTHER AGREEMENTS

            6.1     Bankruptcy Court Approval,

                   (a)     This Agreement and the transactions contemplated hereby are contingent
    upon the approval and authorization of the Bankruptcy Court. Except as expressly set forth herein,
    Seller and Buyer shall have no liability under this Agreement unless and until it is approved by the
    Bankruptcy Court and shall have no obligation to consummate the transactions contemplated
    herein unless and until the Bankruptcy Court enters the Sale Order in a form and substance as set
    forth below. In the event that the Sale Order is appealed, Seller shall use best commercial efforts
    to defeat such appeal.

                  (b)      Among other things, the Sale Order will be in form and content acceptable
    to Buyer and Seller in their respective sole and absolute discretion and provide that:

                         (I)        this Agreement is approved;

                       (ii)         the Purchased Assets shall be sold and conveyed to Buyer free and
    clear of all Encumbrances;

                      (iii)         Seller is authorized and empowered to assume and assign to Buyer
    the Assigned Contracts;

                        (iv)        Buyer shall have no successor liability except for the Assumed
    Liabilities;

                       (v)        findings of fact and conclusions of law that the transactions are
    arms-length, without collusion, and that Buyer has acted in good faith pursuant to Section 363(m)
    of the Bankruptcy Code and that the transfers are for adequate consideration;

                      (vi)          all Encumbrances on the Purchased Assets shall attach to the
    Purchase Price; and

                        (vii)       a finding that Buyer is a good faith purchaser of the assets and
    entitled to the prolcclions of Section 363(m) of the Bankruptcy Code.

             6.2    Cooperation. Each of Buyer and Seller shall use commercially reasonable efforts
    to take, or cause to be taken, all action and to do, or cause to be done, all things necessary or proper,

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    consistent with applicable Law, to consummate and make effective as soon as possible the
    transactions contemplated hereby. Buyer shall promptly take such actions as may be reasonably
    requested by Seller to assist Seller in obtaining the Bankruptcy Court’s entry of the Sale Order and
    any other Order of the Bankruptcy Court reasonably necessary to consummate the transactions
    contemplated by this Agreement.

            6.3    Conduct of Business. Unless otherwise agreed by Seller and Buyer, as
    contemplated in this Agreement, or as required by the Bankruptcy Code or an Order of the
    Bankruptcy Court, from the date hereof through the Closing Date, Seller shall conduct the
    Purchased Assets in the Ordinary Course of Business consistent with past practice during the
    Bankruptcy Case and will not sell or dispose olany of the Purchased Assets or make payments or
    enter into any contractual commitments to any employee of Seller other than sales of inventory,
    payments of salary and wages and other benefits and the reimbursement of reasonable documented
    business expenses, in each ease, in the Ordinary Course of Business consistent with past practice
    during the Bankruptcy Case.

            6.4    Adeauate Assurances Rerzardinz Assiened Contracts. To the extent requested in
    writing by a counterparty to an Assigned Contract, Buyer shall provide confirmation of its intent
    regarding future performance to such counterpany to such Assigned Contract.

             6.5    Notice of Certain Events. Each of Buyer and Seller shall promptly notify the other
    Party of the occurrence of any event or condition or the existence of any fact that would reasonably
    be expected to have a Material Adverse Effect or to cause any of the conditions to either of the
    Parties’ obligations to consummate the transactions contemplated by this Agreement not to be
    fulfilled. Notwithstanding Seller’s obligation to provide notice to Buyer, there shall not have
    occurred any event or circumstance that constitutes a Material Adverse Effect.

            6.6    Access to Information. Inspections.

                   (a)     From the date hereof through the Closing Date, and upon reasonable
    advance notice received from Buyer, Seller shall give Buyer and its authorized representatives
    reasonable access to its facilities and Books and Records relating to the rurchased Assets, such
    access to be exercised in a manner that does not unreasonably interfere with Seller’s operations.

                    (b)     Following the Closing, and upon reasonable advance notice received from
    Seller, Buyer shall give Seller and its agents and representatives reasonable access during regular
    business hours, to the Transferred Employees and any Books and Records relating to the Purchased
    Assets, to the extent reasonably necessary to permit Seller to investigate any matter relating to or
    arising during any period prior to the Closing.

                   (c)     Each Party will use reasonable efforts to minimize any disruptions to the
    business of the other Party in connection with its requests or discussions pursuant to this Section
    6.6,

                                              ARTICLE VII
                                                TAXES



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            7.1      Taxes Related to Purchase of Purchased Assets. All Taxes, including, without
    limitation, all state and local Taxes in connection with the transfer of the Purchased Assets, and all
    recording and filing fees (collectively, “Transaction Taxes”), that may be imposed by reason of
    the sale, transfer, assignment and delivery of the Purchased Assets and that are not exempt under
    section 1146(a) of the Bankruptcy Code, shall be borne solely by Seller. Buyer and Seller shall
    cooperate to determine the amount of Transaction Taxes payable in connection with the
    transactions contemplated under this Agreement. At Closing, Seller shall provide to Buyer all
    requisite exemption certificates. Seller and Buyer shall prepare and file any and all required Tax
    Returns for or with respect to such Transaction Taxes with any and all appropriate Governmental
    Authority taxing authorities.

            7.2     Cooperation on Tax Matters. Buyer and Seller shall ftirnish or cause to be furnished
    to each other, as promptly as practicable and to the extent in such Party’s possession or control,
    such information and assistance relating to the Purchased Assets and the Assumed Liabilities as is
    reasonably necessary for the preparation and filing of any Tax Return, claim for refund or oilier
    required or optional fllinss relating to Tax matters, for the preparation for and proof of facts during
    any Tax audit, for the preparation for any Tax protest, for the prosecution or defense of any suit or
    other proceeding relating to Tax matters and for the answer to any Governmental Authority
    relating to Tax matters.

            7.3    Allocation of Total Consideration. Schedule 7.3 sets forth the allocation of the
    Total Consideration for the purposes of, and in accordance with, Section 1060 of the Tax Code.
    Any amount of Unearned Revenue not reimbursed by Available Cash pursuant to Section 3.4 shall
    be considered an assumed liability, shall be allocated to Goodwill. Btiyer shall report, act and file
    its Tax Returns (including Internal Revenue Service Form 8594) in all respects and for all purposes
    consistent with such allocation unless Seller and Buyer mutually agree to a different allocation
    following the Closing.

                                   ARTfCLE viii
                   CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER

            The obligations of Buyer to consummate the transactions contemplated hereby are subject
    to the satisfaction or waiver by Buyer each of the following separate conditions precedent on or
    before the Closing Date:

            8.1     New Lease. Prior to Closing, the landlord of the Purchased Assets and Buyer shall
    lease the real property related to the Seller’s leased property pursuant to a written lease acceptable
    to Buyer in its sole and absolute discretion.

           8.2    Satisfaction of Claims Against Dr. Rajeev Sharma. On or before June 15, 2021, Dr.
    Rajeev Sharma shall execute a written Settlement Agreement which resolves all claims that have
    or could have been asserted against him by White Oak Business Capital, Inc. On or before June
    22, 2021, a Motion to Approve the Settlement Agreement shall be filed with the Bankruptcy Court
    in Bankruptcy Case No. 20-22860. The Settlement Agreement must be approved by the
    Bankruptcy Court prior to the Closing Date



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             8.3    Accuracy of Representations and Warranties. The representations and warranties
    of Seller contained herein or any certificate delivered to Buyer pursuant to this Agreement shall
    be true, accurate and correct as of the date of this Agreement and as of the Closing Date, as if made
    at and as of such date (unless any such representation or warranty refers specifically to a specified
    date, in which case such representation or warranty shall be true, accurate, and correct on and as
    of such specified date).

           8.4     Compliance with Aireements and Covenants. Seller shall have materially
    performed and complied with all of its covenants, obligations, and agreements contained in this
    Agreement to be performed and complied with by it on or prior to the Closing Date, including,
    without limitation, Seller shall, consistent with section 365(b)(l)(A) of the Bankruptcy Code and
    as may be negotiated between Seller and the respective counterparty, but subject to its rights
    otherwise provided under this Agreement, satisfy all undisputed Cure Obligations.

           8.5    No Material Adverse Effect. There shall not have occurred any event, fact or
    circumstance that has had, or is reasonably likely to have, a Material Adverse Effect.

            8.6     No Iniunction. On the Closing Date: (i) there shall be no Order staying, reversing,
    modif’ing,   vacating  or amending the Sale Order; and (ii) there shall be no preliminary or
    permanent   injunction  or other Order of any court or Governmental Authority declaring this
    Agreement invalid or unenforceable in any material respect or otherwise preventing the
    transactions contemplated herein from being consummated.

            8.7     Deliveries. Seller shall have made, or be prepared to make at the Closing, all of the
    deliveries set forth in Section 11.2.

           8.8     Sale Order Date. The Bankruptcy Court shall enter a Sale Order authorizing and
    approving the sale to Buyer no later than July 31, 2021.

                                   ARTICLE DC
                  CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLER

           The obligations of Seller to consummate the transactions contemplated hereby are subject
    to the satisfaction or waiver by Seller of the following conditions precedent on or before the
    Closing Date:

            9.1     Accuracy of Representations and Warranties. The representations and warranties
    of Buyer contained herein or any certificate delivered to Seller pursuant to this Agreement shall
    be true, accurate, and correct as of the date of this Agreement and as of the Closing Date, as if
    made at and as of such date (unless any such representation or warranty refers specifically to a
    specified date, in which case such representation or warranty shall be true, accurate and correct on
    and as of such specified date).

           9.2    Compliance with Agreements and Covenants, Buyer shall have materially
    performed and complied with all of its covenants, obligations, and agreements contained in this
    Agreement to be performed and complied with by it on or prior to the Closing Date.

           9.3     Recjuired Consents. Seller shall have obtained the conseats listed on Schedule 4.3,

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           9.4    Bankruptcy Court Approval. The Bankruptcy Court shall have entered the Sale
    Order which shall be in Ml force and effect on the Closing Date.
            9.5     No Injunction or Litigation. On the Closing Date: (i) there shalt be no Order
    staying, reversing, modifying, vacating or amending the Sale Order; (ii) there shall be no
    preliminary or permanent injunction or oilier Order of any court or Governmental Authority
    declaring this Agreement invalid or unenforceable in any material respect or otherwise preventing
    the transactions contemplated herein from being consummated; and (iii) there shall not be pending
    or threatened any suit, action or proceeding (y) challenging or seeking to restrain, prohibit, alter or
    materially delay the consummation of any of the transactions contemplated by this Agreement or
    (z) seeking to obtain from Seller or any of its Affiliates any damages in connection with the
    transactions contemplated hereby.

            9.6     Deliveries. Buyer shall have made, or be prepared to make at the Closing, all of
    the deliveries set forth in Section 11.3.

           9.7     Sale Order Date. The Bankruptcy Court shall enter a Sale Order authorizing and
    approving the sale to Buyer no later than July 31,2021.

                                         ARTICLE X
                                 EMPLOYEES AND BENEFIT PLANS

            10.1   Transferred Employees.

                (a)         Buyer may extend to any employee of Seller an offer of employment (any
    such offer being referred to herein as a “Transfer Offer”) that, if accepted, shall become effective
    on the Closing Date. Seller shall not interfere or hinder Buyer’s reasonable efforts to have
    employees accept Transfer Offers. Employees of Seller who commence employment with Buyer
    pursuant to a Transfer Offer shall be referred to herein as “Transferred Employees.” Nothing in
    this Section 10.1 or elsewhere in this Agreement shall be construed to create a right in any
    employee of Seller to employment with Buyer. Nothing in this Agreement shall be deemed to
    prevent or restrict in any way the right of Buyer to terminate, reassign, promote, or demote any
    Transferred Employee after the Closing Date or to change adversely or favorably the title, powers,
    duties, responsibilities, thnctions, locations, compensation, benefits, or terms or conditions of
    employment of such Transferred Employee.

                 (b)        On the Closing Date, Seller shall have released each of the Transferred
    Employees from his or her employment with Seller and any agreement restricting their right to
    compete with Seller, or any Affiliate of Seller and from any agreement restricting his or her use or
    disclosure of confidential or proprietary information related to the Purchased Assets (including the
    Intellectual Property).

               (c)      Buyer shall have no liability in connection with the termination by Seller of
    the employment or engagement of any employee of, or other Person providing services to, Seller.

                (d)        Seller will be responsible for the payment and satisfaction of 0) all wages
    and other remuneration due to the employees with respect to their services to Seller prior to the
    Closing Date, (ii) all paymcnts required under the Law with respect to actions or activities
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    occurring prior to the Closing Date in connection with the transactions contemplated hereby, (iii)
    the provision of health plan continuation coverage for (A) any employee of Seller (including any
    Transferred Employee) terminated or who resigned at or prior to the Closing, and (B) any
    employee of Seller that is not a Transferred Employee terminated after the Closing, in each case,
    in accordance with the requirements of COBRA and ERISA § 601-608, (iv) all termination or
    severance payments to any employee who resigned or was terminated on or prior to the Closing
    Date and any claims that consummation of the transactions contemplated hereby or any measures
    to be imposed in connection with the transactions contemplated hereby constitutes an involuntary
    termination or constructive termination of the employment of any of employees, and (v) all
    liabilities arising under claims by the employees for benefits attributable to any of Seller’s benefits
    plan.

                 Ce)     Nothing herein express or implied by this Agreement shall confer upon any
    employee, or legal representative thereof, any rights or remedies, including any right to
    employment or benefits for any specified period, of any nature or kind whatsoever, under or by
    reason of this Agreement.

            10.2 Employee Benefits. Without limiting the foregoing, all liabilities and obligations
    in respect of Seller’s past, present and future employees occurring prior to the Closing shall be
    Excluded Liabilities.

                                                ARTICLE XI
                                                 CLOSING

             11.1 Closing. The consummation of the transactions contemplated hereby (the
    “Closing”) shall take place remotely or in Pittsburgh, Pennsylvania at the Law Offices of Robert
    O Lampl, at 10:00 am. (EST) no later than thc latter of (i) three (3) Business Days after the Sale
    Order becomes a Final Order or (ii) ninety (90) days after the date hereof (the “Closing Date”),
    subject to the closing conditions contained in this Agreement. Unless otherwise agreed by the
    Parties in writing, the Closing shall be deemed effective and all right, title and interest of Seller in
    the Purchased Assets to be acquired by Buyer hereunder shalL be deemed to have passed to Buyer
    and the assumption of all of the Assigned Contracts and the Assumed Liabilities shall be deemed
    to have occurred as of 12:00:01 n.m. (Eastern Time) on the Closing Date, All proceedings lobe
    taken and all documents to be executed and delivered by all Parties at the Closing shall be deemed
    to have been taken and executed simultaneously and no proceedings shall be deemed to have been
    taken nor documents executed or delivered until all have been taken, executed and delivered.

            11.2 Deliveries by Seller. At or prior to the Closing, Seller shall deliver to Buyer the
    following, each dated the Closing Date and duly executed by Seller (with all costs associated
    therewith paid by Seller):

                     (a)     Such certificates of title, bills of sale, assignments, including as needed to
    assign  the  Patents, deeds or other instruments of transfer, conveyance or assignment, all in form
    and  substance   acceptable to Buyer in its sole and absolute discretion, as shall be effective to vest
    in Buyer title to the Purchased Assets free and clear of all Encumbrances other than the Assumed
    Liabilities;


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                   (b)     A true and correct copy of the Sale Order;
                    Cc)    A certificate, signed by an officer of Seller, certifying as to the accuracy of
    Seller’s representations and warranties as of the Closing Date

                   (d)     all other certificates, agreements and other documents required by this
    Agreement (or as Buyer may reasonably request) to be delivered by Seller at or prior to the Closing
    in connection with the transactions contemplated by this Agreement.

            11.3 Deliveries by Buyer. At the Closing, Buyer shall deliver to Seller the following,
    each dated the Closing Date and duly executed by Buyer:

                  (a)    One or more Assignment and Assumption Agreements, in form and
    substance reasonably acceptable to Seller, evidencing Buyer’s obligation to pay, discharge and
    perform the Assumed Liabilities;

                  (b)     A certificate, signed by an officer of Seller, certi1’ing as to the accuracy of
    Buyer’s representations and warranties as of the Closing Date;
                    (c)    The Closing Payment and, written notice by Buyer to the Escrow Agent to
    release to or on behalf of Seller any amount of the Deposit remaining with the Escrow Agent.
                                              ARTICLE XII
                                             TERMINATION

            12.1   Termination. This Agreement may be terminated on written notice as follows:

                   (a)     By mutual consent of Seller and Buyer;

                   (b)     By either Party, in the event of a material Breach by the other Party of any
    representation, warranty, covenant or obligation of such Party under this Agreement which
    remains uncurcd after notice and a reasonable opportunity to cure (which except in the case of a
    breach of the obligations to consummate the transaction, shall not be less than ten (10) Business
    Days);

                    (c)      By Buyer, if any of the conditions in Article VIII of this Agreement have
    not been satisfied in all material respects on or before the Closing Date and Buyer is not the reason
    why such conditions have not been satisfied, or if satisfaction of a condition is or becomes
    impossible (other than through the failure of Buyer to comply with its obligations under this
    Agreement) and Buyer has not waived the condition on or before the Closing Date;

                    (d)    By Seller, if any of the conditions in Article DC of this Agreement have not
    been satisfied in all material respects on or before the Closing Date and Seller is not the reason
    why such conditions have not been satisfied, or if satisfaction of a condition is or becomes
    impossible (other than through the failure of Seller to comply with its obligations under this
    AgreerncnL) and Seller has not waived the condition on or before the Closing Date;



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                   (e)      By either Party if (i) all of the conditions precedent of both Parties’
    obligation to close have occurred, (ii) such Party is not the reason why the Closing has not
    occurred, and (iii) the Closing (one or both of them) has not occurred by September 15, 2021; and

                     (fl     By Buyer prior to the commencement of the Bankruptcy Court hearing to
    consider entry of the Sale Order if Buyer is not satisfied, in its sole and absolute discretion, with
    the results of its due diligence on the Purchased Assets or if the Sale Order materially changes the
    rights or obligations of Buyer from those stated herein.

            12,2 Effect ofTermination. In the event this Agreement is terminated, this Agreemenl
    shall be null and void and neither Party shall have any remaining obligalions to the other Party
    with respect hereto.

                                    ARTICLE XIII
                    INDEMNIFICATION AND POST-CLOSING COVENANTS

            13.1   Indemnification by Buyer.

                   (a)     Buyer will indemnify, defend and hold Seller harmless from and against
    any Losses arising dircetly or indirectly from any of the following, regardless of whether the claim
    arises under contract, breach of warranty, tort or other legal theory:

                         (I)   any Breach of any representation or warranty made by Buyer in this
    Agreement or in any agreement or certificate delivered by Buyer at Closing;

                         (ii)  any Breach by Buyer of any covenant or obligation of Buyer in this
    Agreement or in any agreement or certificate delivered by Buyer at Closing;

                            (iii)    any claim by any Person for brokerage or finder’s fees or
    commissions   or  similar payments   that remain unpaid after the Closing and which are based upon
    any agreement    or understandin  g alleged to have been made by such Person with Buyer (or any
    Person acting on its behalf)  in connection  with the contemplated transactions; or

                           (iv)    Buyer’s operation, ownership, and utilization of the Purchased
    Assets after the Closing Date.

                   (b)      All of the representations, warranties, covenants, and agreements made by
    Seller or Buyer in this Agreement shall survive the Closing until the termination of the Bankruptcy
    Case.

             13.2 Administrative Claims Arising Under Assigned Contracts. Seller shall timely pay
    all obligations to counterparties to the Assigned Contracts that arose between the Petition Date and
    the Closing Date under such Assigned Contract and shall indemni&, defend and hold Buyer
    hannless from any liability, costs, expenses, losses, court costs, attorneys’ fees, and other out-of-
    pocket costs arising from any such administrative claims arising under the Assigned Contracts.
    Notwithstanding anything to the contrary, this indemnification shall survive Closing indefinitely.



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             13.3 Receipt of Accounts Receivable Post-Closing. From and after the Closing: (I) if
    Seller or its Affiliate receives or collects any finds relating to any Purchased Asset, Seller or its
    Affiliate shall remit the same to Buyer within three (3) Business Days after its receipt thereof, and
    (ii) if Buyer receives or collects any funds relating to any Excluded Asset, Buyer shall remit the
    same to Seller within three (3) Business Days after its receipt thereof. Notwithstanding anything
    to the contrary, this indemnification shall survive Closing indefinitely.

            13.4 Further Assurance. Each Party shall execute and cause to be delivered to each
    other Party such instruments and other documents, and shall take such other actions, as such other
    Party may reasonably request (prior to, at or after the Closing) for the purpose of carrying out or
    evidencing any of the transactions contemplated by this Agreement. Notwithstanding anything to
    the contrary, this indemnification shall survive Closing indefinitely.

                                            ARTICLE MV
                                           MISCELLANEOUS

            14.1 Entire Agreement. This Agreement constitutes the entire understanding between
    the Parties with respect to the subject matter contained herein and supersedes any prior
    understandings and agreements among them respecting such subject matter.

            14.2 Headings. The headings in this Agreement arc for convenience of reference only
    and shall not affect its interpretation.

           14.3 Notices. All notices or other communications required hereunder shall be in writing
    and shall be deemed to have been given if delivered personally, on the next day if mailed by
    overnight mail, to the addresses of the Panics as follows:

           If to Seller:

                   VideoMining Corporation
                   403 S. Allen Street, Suite 101
                   State College, PA 16801

                   with a copy to:

                   Law Office of RobertO Lampl
                   223 Fourth Avenue
                   Pittsburgh, PA I 5222
                   Attention: RobertO Lampl, Esq. and Ryan Cooney, Esq.

            If to Buyer:

                   VMC Acq., LLC
                   2120 Old Gatesburg Road
                   State College, PA 16803
                   Attention: Donald C. Belt


                                                     20
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                   with a copy to:

                   Cherin Law Offices, P.C.
                   525 William Penn Place, 28” Floor
                   Pittsburgh, PA 15219
                   Attention: Steven M. Cherin, Esq.

           14.4 Exhibits and Schedules. Each Exhibit and Schedule referred to herein is
    incorporated into this Agreement by such reference.

            14,5 Severability. If any provision of this Agreement is held to be illegal, invalid or
    unenforceable such illegality, invalidity or unenforceability will not affect any other provision
    hereof. This Agreement shall, in such circumstances be deemed modified to the extent necessary
    to render enforceable the provisions hereof.

             14.6 Waiver. Except as otherwise provided in this Agreement, the failure of any Party
    to insist upon strict performance of any of the terms or conditions of this Agreement will not
    constitute a waiver of any of its rights hereunder.

           14.7 Assignment. Buyer may assign any of its rights or delegate any of its obligations
    hereunder without the prior written consent of Seller.

            14.8 Successors and Assigns. This Agreement binds, inures to the benefit of, and is
    enforceable by the successors and permitted assigns of the Parties, including any trust which may
    be created as part of any plan of liquidation established by Seller, and does not confer any rights
    on any other Persons or entities.

            14.9 Governing Law. This Agreement, and all other documents executed in connection
    with this Agreement shall be construed and enforced in accordance with Federal Bankruptcy Laws
    (including the Bankruptcy Code). To the extent applicable, and where State Law is implicated,
    the Laws of the Commonwealth of Pennsylvania shall govern, without reicrence to any conflict of
    law principles.

             14.10 Venue. Buyer and Seller agree that all actions brought, arising out of, or related to
    the transactions contemplated in this Agreement shall be brought in the Bankruptcy Court, and the
    Bankruptcy Court shall retainjurisdiction to determine any and all such actions. Each Party hereby
    irrevocably consents to the personal and subject matter jurisdiction of the Bankruptcy Court and
   agrees that the Bankruptcy Court may enter final and binding judgments with respect to any
   controversy arising from or related to this Agreement and the transactions contemplated herein.
    In the event the Bankruptcy Court for any reason declines to exercisejurisdiction each Party hereby
   consents to the personal jurisdiction of any state or federal court having competent sLibjeet matter
   jurisdiction located in Allegheny County, Pennsylvania.

           14.11 Amendments. This Agreement may be amended only by a written instrument duly
    executed by all of the Parties in writing, or the Sale Order.

           14.12 Counterparts. This Agreement may be executed in any number of counterparts and
    any Party hereto may execute any such counterpart, each of which when executed and delivered
                                                    21
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    shall be deemed to be an original and all of which counterparts taken together shall constitute but
    one and the same instrument. In order to facilitate execution of this Agreement, electronic or
    facsimile signatures shall be deemed to be original signahires.

            14.13 No Third Parw Beneficiaries. This Agreement is solely for the benefit ofthe Parties
    hereto and no provision of this Agreement shall be deemed to confer upon any other Person any
    remedy, claim, liability, reimbursement, cause of action or other right.

             14.14 Expenses. Except as otherwise provided in this Agreement, each ofthc Parties shaLl
    pay its own expenses in connection with this Agreement and the transactions contemplated hereby,
    including, without limitation, any legal and accounting fees, whether or not the transactions
    contemplated hereby are consummated.



                              [Remainder of Page Intentionally Left Blank]




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            IN WITNESS WHEREOF, (lie Parties hereto have executed and delivered this Agreement
    as of the date first above written.
                                                     VideoMining Corporation

                                                            —caD
                                                     By:     -   -




                                                     Name: Rajeev Sharma
                                                     Title: CEO

                                                     VMC ACQ., USC

                                                     By:    AGSM II, LLC
                                                     Its:   Manager



                                                     By:
                                                     Name: Donald C. Belt
                                                     Title: Manager




                                                23
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            iN WITNESS WHEREOF, the Panics hereto have executed and delivercd this Agreement
    as of the date first above written.

                                                   VideoMining Corporation


                                                   By:
                                                   Name: Rajeev Sharma
                                                   Title: CEO

                                                   VMC ACQ., LLC

                                                   By:    AGSM U, LLC
                                                   Its:   Manager



                                                   By:
                                                   Name: ionald C. B1C
                                                   Title: Manager




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                                               SCHEDULE 2.1(a)


                                        (Equipment & Fixed Assets)


    1.   All furniture, equipment office furniture and fixtures, whether owned or leased by VideoMining
         Corporation located at 403 S. Allen Street, State College, PA 16801, including, but not limited to.
         the following:
         a. Office Furniture

                    Asset Tag       Item                            Location     I Office
                    VM000600    I   Desk                        I   R aj e e v
                    VM0006O1        Office Chair                ‘Rajeev
                    VM000602        Bookcase                        Rajeev
                    VM000606        Conference Chair                Rajeev
                    VM0006OS        Conference Chair                Rajeev
                    VM000604        Conference Chair                Rajeev
                    VM000603        Conference Chair                Raieev
                    VM000607        Desk                            Data Services
                !
                    VM0006OS        Desk                            Data Services
                    VM000609        Desk                            Data Services
                    VM00061O        Office Chair                    Data Services
                    VM000611        Office Chair                    Data Services
                    VM000B12        Office Chair                    Data Services
                    VM000613        Bookcase                        Data Services
                    VM000614        Desk                            Analyst
                    VM000615        Desk                            Analyst
                    VM000616        Desk                            Analyst
                    VM000617        Desk                            Analyst
                    VM00061S        Oesk                            Analyst
                    VM000619        Office Chair                    Analyst
                    VM000G2O        Office Chair                    Analyst
                    VM000621        Office Chair                    Analyst
                    VM000622        Office Chair                    Analyst
                    VM000623        Office Chair                    Analyst
                    VM000624        Office Chair                    IT
                    VM000625        Desk                            IT
                    VM000S2S        Table                           IT
                    VM000627        Desk                            IT
                    VM000628        Office Chair                    IT
                    VM000629        Desk                            Engineering
                    VM000630        Desk                            Engineering
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            Asset Tag   Item                  Location / Office
            VM000631    Desk                  Engineering
            VM000632    Desk                  Engineering
            VM000633    Desk                  Engineering
            VM000634    Office Chair          Engineering
            VM000G3S    Office Chair          Engineering
            VM000636    Office Chair          Engineering
            VM000637    Office Chair          Engineering
            VM000638    Office Chair          Engineering
            VM000639    Desk                  Analyst
            VM000E4O    Office Chair          Analyst
            VM000641    Bookcase              Analyst
            VM000642    Table                 Kitchen
            VM000643    Table                 Kitchen
            VM000644    Table                 Kitchen
            VM000S4S    Meeting Table         Rajeev
            VM000646    Desk                  IT
            VM000647    Desk                  IT
            VM000648    Office Chair          IT
            VM000649    Office Chair          IT
            VM0006SO    Table                 IT
            VM000651    Table                 IT
            VM000652    Conference Chair      Conference
            VM000653    Conference Chair      Conference
            VM000654    Conference Chair      Conference
            VM000555    Conference Chair      Conference
            VM000656    Conference Chair      Conference
            VM000657    Conference Chair      Conference
            VM000G5S    Conference Chair      Conference
            VM000659    Conference Chair      Conference
            VM000S6O    Conference Chair      Conference
            VM000661    Conference Chair      Conference
            VM000662    Meeting Table         Conference
            VM000663    Bookcase              Conference
            VM000664    Bookcase              Misc
            VM000665    Desk                  Bossi
            VM000666    Office Chair          Bossi
            VM000667    Bookcase              Bossi
            VM000G6S    Office Chair          Bossi
            VM000669    Misc Credenza
                                -             Bossi
            VM000670    Desk                  Hirata
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            Asset Tag      Item                   Location   / Office
            VM000671       Office Chair           Hi rata
            VM000672       Office Chair           Hirata
            VM000673       misc drawers
                                   -              Hirata
            VM000674       Desk                   Tana
            VM000675       Office Chair           Tana
            VM000676       Desk                   Tana
            VM000677       Office Chair           Tana
            VM000678       Std Chair              Misc
            VM000679       Std Chair              Misc
            VM000680       Std Chair              Misc
            VM000GS1       Std Chair              Misc
            VM000682       Std Chair              Misc
            VM000683       Std Chair              Misc
            VM000684       Std Chair              Misc
            VM0006BS       Std Chair              Misc
            VM000686       Std Chair              Misc
            VM000687       Std Chair              Misc
            VM0006SS       Std Chair              Misc
            VM000689       Std Chair              Misc
            VM000690       Std Chair              Misc
            VM000S91       Std Chair              Misc
            VM000692       Std Chair              Misc
            VM000693       Std Chair              Misc
            VM000694       Std Chair              Misc
            VM000695       Std Chair              Misc
            VM000696       Std Chair              Misc
            VM000697       Cabinet                Misc
            VM000698       Cabinet                Misc
            VM000699       Cabinet                Misc
            VM000700        Bookcase              Tana
            VM0007O1       Cabinet                Hirata
            VM000702       Bookcase               IT
            VM000703       Cabinet                IT
            VM000704       Shelf                  IT
            VM0007OS       Table                  IT
            VM000706       Table                  IT
            VM000707       Shelf                  Annotation Room
            VM0007OS       Shelf                  Annotation Room
            VM000709       Table                  Annotation Room
            VM00071O        Desk                  Annotation Room
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                  Asset Tag         Item                         Location / Office
                  VM000711          Office Chair             I   Annotation Room
                  VM000712          Desk                         Annotation Room
                  VM000713          Table                        Annotation Room
                  VM000714          Std Chair                    Annotation Room
                  VM000715          Std Chair                    Annotation Room
                  VM000716          Std Chair                    Annotation Room
                  VM000717          Shelf                        Annotation Room
                  VM000720          Desk                         Annotation Room
                  VM000721          Desk                         Annotation Room
                  VM000722          Desk                         Annotation Room
                  VM000723          Office Chair                 Annotation Room
                  VM000724          Office Chair                 Annotation Room
                  VM0007Z5          Office Chair                 Annotation Room
                  VM000725          Office Chair                 Annotation Room
                  VM000727          Office Chair                 Annotation Room
                  VM000729          Office Chair                 Annotation Room
                  VM000730          Office Chair                 Annotation Room
                  VM000731          Office Chair                 Annotation Room
                  VM000732          Office Chair                 Annotation Room
                  VM000733          Office Chair                 Annotation Room
                  VM000734      I   Office Chair                 Annotation Room
                  VM000735          Office Chair                 Annotation Room
                  VM000736          Office Chair                 Annotation Room
                  VM000737          Office Chair                 Annotation Room
                  VM00071S          Cabinet                      Annotation Room
                  VM000719          Cabinet                      Annotation Room
                  VM000728          Std Chair                    Annotation Room
                  VM000738          40 INCH Monitor              Annotation Room
                  VM000741          40 INCH Monitor              Misc
                  VM000740          40 INCH Monitor              Misc
                  VM000739          40 INCH Monitor              Misc
                  VM000742          60 INCH Monitor              Misc
                  VM000743          60 INCH Monitor              Misc

       b.   Computer Equipment and all data contained on the hard drives:

                  Office                              CITY       Description
              i   Annotation                           17        Desktop PCs      +   Accessories
                  Richard Hirata                       1         Laptop   +   Accessories
                  Chris Bossi                          1         Desktop PCs      +   Accessories
                  Rajeev Sharma                        1         Laptop   +   Accessories
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                   Office                                       Description
                   Data Services                      3         Desktop PCs      +   Accessories
                   Data Services              i      2          Laptop   +   Accessories
                   Mt Nittany conference
                   Roam                               1         Desktop PCs      +   Accessories
                   James Brennen                      1         Desktop PCs      +   Accessories
                   Dilip Han / Gary Panulla           2         Desktop PCs      +   Accessories
                   Analytics Area                     5         Desktop PCs      +   Accessories
                   Engineering Area                   3         Desktop PCs      +   Accessories
                   Entire Office                      1         Phone System w/all phones
                   IT Area                            2         Desktop PCs      +   Accessories
                   IT Area                            5         Laptop   +   Accessories
                   IT Area & Server Room             92         Server Computers
               i   IT Area & Server Room              9         Cisco Cameras
                   IT Area & Server Roam             71         Axis Cameras
                   IT Area & Server Room              9         Power strips
                   IT Area & Server Room             48         POE Switches 24-48 Ports
                   IT Area & Server Room             20         Small connect switches
                   IT Area & Server Room             22         Synology NAS units
                   IT Area & Server Room             31         Intel iS NUCs
                   IT Area & Server Roam             12         Battery backup
                   IT Area & Server Room             12         1 U Wall mount racks
                   IT Area & Server Room              3         1 U Rack trays
                   IT Area & Server Room             23         Cisco Routers
                   IT Area & Server Room              8         Cables DB-9 to USO
                   IT Area & Server Room             14         Axis PTZ cameras
                   IT Area & Server Room             19         Telescoping Extension cam mount
                   IT Area & Server Room              3         4U Wall mount rack
                   IT Area & Server Room              4         CAT5e Fthernet Cable Cases
                   IT Area & Server Room              6         4Th hard drives
                   Storage Closet                     2         Desktop PCs      +   Accessories
                   Receptionist                       I         Laptop   +   Accessories
                   Receptionist                       1         Fax Copier
                   Richard Hirata Office              1         HP Color Printer
                   IT Area                            4         Developer’s Hard Drives
                   IT Area                           798        Cameras / Omnisenr’s



    2.   All equipment, furniture, inventory and fixtures, whether owned or leased by VideoMining
         Corporation associated with the collection of Shopper Data located in retail stares including but
         not limited to:
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  L
  PTSMT-1 392       SPEC         NC   28315      3       68      4
  PTSMT-434         SPEC         IL   60435      2       46      3
  RTRS-037          SPEC         PA   17059      1        5      1        1          1
  USCELL-3175       SPEC         NC   27892      1       21      1        1          1
  GIANT-97          GSI Big 4
                        -        PA   17033      6      180      9        1          1
  SWY-0413          051- Big 4   AZ   85022      7      164      8        1          1
  SWY-1480          GSI-Big4     CO   80129      5      115      6        1          1
  SWY-1751          051 Big 4
                        -        OR   97038      5      125      6        1          1
  GIANT-316         CS!          MD   20770      5      142      7        1          1
  GTE-18            051          PA   15116      4       88      4        1          1
  GTE-6501          051          OH   43230      4       90      5        1          1
  SAS-606           GSI          CT    6416      6      165      8        1          1
  SCH-191           OSI          MO   63044      3       64      3        1          1
  SWY-2030          GSI          CA   91381      3       65      3        1          1
  SWY-2607          GSI          CA     110      4      106      5        1          1
                    CSI
  CHV-1117          Ongoing      WA   98208      2       28      2        1          1
                    CSI
  CHV-1485          Ongoing      CA   92503      1       26      2        1          1
                    CSI
  CHV-1 553         Ongoing      CA   93210      1       24      2        1          1
                    CSI
  CHV-1789          Ongoing      CA   94598      2       29      2        1          1
                    CSI
  CHV-1 984         Ongoing      CA   92802      2       27      2        1          1
                    CSI
  CHV-1989          Ongoing      CA   92620      1       25       2       1          1
                    CSI
  RACE-2457         Ongoing      GA   30060      1       25       2       1          1
                    CSI
  SNAP-002          Ongoing      PA   16686      2       28       2       1          1
                    CSI
  SNAP-005          Ongoing      PA   16830      2       37       2       1          1
                    CSI
  SNAP-OlS          Ongoing      PA   16853      1       26       2       1          1
  BP-82376          CSI          CA   95618      1       21       1       1          1
  CF-163            CSI          MA    1524      1       23       2       1          1
  CK-7630           CSI          FL   33570      2       38       2       1          1
  CK-7961           CSI          FL   33603      1       28       2       1          1
  CK-9779           CSI          FL   33713      1       18       1       1          1
  CK-9980           CSI          CO   80111      1       25       2       1          1
  FZ-83100          CSI          CA   90280      1       28       2       1          1
  GETGO-3280        CSI          PA   15116      1       24       2       1          1
  GETGO-3514        CSI          OH   43147      1       11       1       1          1
  HOL-379           CSI          MN   55434      1       27       2       1          1
  MAV-421           CSI          NV   89506      1       24       2       1          1
  MAV-481           CS!          UT   84404      1       14       1       1          1
  RACE-618          CSI          GA   30101      1       27       2       1          1
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                                                    VMS VPU       Camera      Switch
   Location         Category        State    Zip      Total        Total       Total        NAS           Router
   RTRS-020         CSI             PA      17057           1            26            2      1                1
   THDR-160         CSI             KY      40229                        24            2      1                 1
   INVISTA-1530     SPEC            GA      30318             1           7            1      0                 1
   CAREALOT-O01     SPEC            VA      23455             2          34            2      1                 1
   CK-8531          SPEC            FL      33619             1           3            1      0                 1
   CK-9767          SPEC            FL      34135             1           2            1      0                 1
   CK-9771          SPEC            FL      33950             1           3            1      0                 1
   MC-2999          SPEC            NJ       8043             2          35            2      1                 1
   MC-4015          SPEC            IN      46237             2          31            2      1                 1
   MC-8125          SPEC            IN      46123             2          28            2      1                 1
   MIR-172          SPEC            Ml      48843             1           2            1      0                 1
   MIR-181          SPEC            OH      43082             1           2            1      0                 1
   MIR-212          SPEC            OH      43068             1           7            1      0                 1
   MIR-245          SPEC            Ml      48353             1           4            ii     0                 1.
 • MIR-247          SPEC            IL      61802             1           3            1      0                 1
   MIR-265          SPEC            IL      60805             1           2            1      0                 1
   PTSMT-1099       SPEC            AZ      85051             1           6            1      0                 1
   PTSUMT-115       SPEC            FL      33441             3          61            3      1                 1
   PTV-5156         SPEC            PA      17403             1          25            2      1                 1
   SVMRT-36         SPEC            CA      93230   unknown
   SVMRT-650        SPEC            CA      93722   unknown
   SVMRT-654        SPEC            CA      93631   unknown
   SVMRT-73         SPEC            CA      93245   unknown                                           I
   SWY-1507         SPEC            CA      94114             1          6             1          0             1
   SWY-2707         SPEC            CA      95207             1          5             1          0             1
   USCELL-3041      SPEC            IA      50631             1         18             1          1             1
   USCELL-3191      SPEC            IA      52807             1         20             1          1             1
   USCELL-3232      SPEC            NC      68845             1         15             1          1             1
   USCELL-3322      SPEC            IA      50010             1         13             1          1             1
   USCELL-5248      SPEC            NC      27909             1         13             1          1             1
   USCELL-5577      SPEC            NC      27889             1         18             1          1             1
   USCELL-5579      SPEC            Mo      65775             1         21             1          1             1
   USCELL-5738      SPEC            NC      27870             1         19             1          1             1
   USCELL-5805      SPEC            WI      53719             1         13             1          1             1
                    GSI
  GIANT-135         AHOLD           MD      20906             6        129             6          1             1
                    GSI   -


  GIANT-349         AHOLD           MD      21704             6        123             6          1             1
                    GSI   -




  GIANT-6030        AHOLD           PA      17901             6        113             6          1             1
                    GSI   -




  GIANT-6519        AHOLD           PA      18914             7        143             7          1             1
                    GSI   -


  SAS-009           AHOLD           MA       1040             7        149             7          1             1
                    GSI   -




  SAS-596           AHOLD           NY      10956             5        101             5          1             1
  KROGER STORE                      VA      23235
                    OSI       Kro                                                      3          1             1
                                                              5         97
                          -
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  KROGER   STORE
  #503
  KROGER   STORE
                    SPEC      OH    45231                        1
  #390                                          1        7               1          1
  KROGER   STORE
                    SPEC      KY    40229                        1
  #366                                          1        2               1          1
  KROGER   STORE
                    SPEC      KY    40216
  #385                                          1        2               1          1
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                                         SCHEDULE 2.I(e)


                                     (Intellectual Property)

  1. Patents.

 MI issued and patent applications owned by VideoMining, including but not limited to:

  Issued Patents:
     Patent No.      Patent Issue Date     Title
                                           Classification of humans into multiple age categories from
      7,319,779         01/15/08
                                           digital images
      7,505,621          03/17/09          Demographic classification using image components
                                           Method and system for robust demographic classification
      7,848,548          12/07/10          using pose independent model from sequence of face
                                           images
                                           Method and system for determining the age category of
      7,912,246          03/22/11
                                           people based on facial images
                                           Method and system for recognizing employees in a
      7,957,565          06/07/11
                                           physical space based on automatic behavior analysis
                                           Method and system for characterizing physical space
      7,987,111          07/26/11
                                           based on automatic demographics measurement
                                           Method and system for analyzing shopper behavior using
      8,009,863          08/30/11
                                           multiple sensor tracking
                                           Method for augmenting transaction data with visually
      8,010,402          08/30/11
                                           extracted demographics of people using computer vision
                                           Method and system for robust human gender recognition
      8,027,521          09/27/11
                                           using facial feature localization
                                           Method and system for automatic analysis of the trip of
      8,098,888          01/17/12
                                           people in a retail space using multiple cameras
                                           Method and system for automatically analyzing categories
      8,189,926          05/29/12          in a physical space based on the visual characterization of
                                           people
                                           Method and system for measuring shopper response to
      8,219,438          07/10/12
                                           products based on behavior and facial expression
                                           Method and system for finding correspondence between
      8,254,633          08/28/12
                                           face camera views and behavior camera views
                                           Method and system for segmenting people in a physical
      8,295,597          10/23/12
                                           space based on automatic behavior analysis
                                           Method and system for detecting and tracking shopping
      8,325,982          12/04/12
                                           carts from videos
                                           Automatic detection and aggregation of demographics and
      8,351,647          01/08/13
                                           behavior of people
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    Patent No.       Patent Issue Date   Title
                                         Method and system for robust human ethnicity
    8,379,937            02/19/13        recognition using image feature-based probabilistic
                                         graphical models
                                         Method and system for analyzing shopping behavior in a
    8,380,558            02/19/13        store by associating RFID data with video-based behavior
                                         and segmentation data
                                         Method and system for building a consumer decision tree
    8,412,656            04/02/13
                                         based on in-store behavior analysis
                                         Method and system for measuring packaging effectiveness
    8,433,612            04/30/13
                                         using video-based analysis of in-store shopper response
                                         Method and system for age estimation based on relative
    8,520,906            08/27/13
                                         ages of pair-wise facial images of people
                                         Method and system for rating the role of a product
    8,577,705            11/05/13
                                         category in the performance of a store area
                                         Method and system for determining the impact of
    8,812,344            08/19/14
                                         crowding on retail performance
                                         Method and system for media audience measurement by
    9,161,084            10/13/15
                                         viewership extrapolation
                                         Method and system for determining ethnicity category of
    9,317,785            04/19/16        facial images based on multi-level primary and auxiliary
                                         classifiers
                                         Method and system for recognizing the intentions of
    9,740,977            08/22/17
                                         shoppers in retail aisles based on their trajectories
    9,747,497            08/29/17        Method and system for rating in-store media elements
                                         Association of unique person to point-of-sale transaction
    10,083,358           09/25/18
                                         data
                                         Association of unique person to a mobile device using
    10,198,625           02/05/19
                                         repeat face image matching
                 .                       Method and system for in-store shopper behavior analysis
    10,217,120           02/26/19
                                         with multi-modal sensor fusion
    10,262,331           04/16/19        Cross-channel in-store shopper behavior analysis
                                         Method and system for measuring effectiveness of a
    10,296,936           05/21/19
                                         marketing campaign on digital signage
                                         Brand-switching analysis using longitudinal tracking at at-
    10,354,262           07/16/19
                                         shelf shopper behavior
    10,387,8g6           08/20/19        At-shelf brand strength tracking and decision analytics
    10,614,294           04/07/20        Association of mobile device to retail transaction
                                         Method and system for measuring viewership of people
    10,614,436           04/07/20
                                         for displayed object
                                         Method and system for finding correspondence between
    10,713,670           06/24/20
                                         point-of-sale data and customer behavior data
                                         Personalized decision tree based on in-store behavior
    10,963,893           03/30/21
                                         analysis
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     Patent No.        Patent Issue Date   Title
                                           Method and system for detecting shopping groups based
      1,004,093            05/11/21
                                           on trajectory dynamics



  Patents Annlications:
   Application No.   Application Date      Title
                                           Method and system for collecting shopper response data
     12/220,076            07/21/08
                                           tied to marketing and merchandising elements
                                           Method and system rating the strength of a brand in
     12/228,409            08/12/08
                                           attracting shoppers relative to a product category
                                           Method and system for evaluating content for digital
     12/313,459            11/20/08        displays by measuring viewer responses by demographic
                                           segments
                                           Method and system for measuring in-store location
     13/999,280            02/05/14
                                           effectiveness based on shopper response
                                           Method and system for robust person tracking using
     14/513,696            10/14/14
                                           mobile signal and video analytics
                                           Method and system for creating anonymous shopper
     14/984,180            12/30/15
                                           panel using multi-modal sensor fusion
                                           Method and system for measuring the effectiveness of in-
     15/004,457            01/22/16
                                           store marketing campaign



  2. All Other Intellectual Property.

  Trademarks:

                                                                         Reizistration A plication
                                                     Mark       Filing
     Docket No                    Mark               Type       Date         Serial No       Examiner

  TM-000I-VMO        V1DEOMNTNG                               12/17/2007     77353606    TN SUNG HYUN


  TM-0002-PSM        THE POWER TO SEE MORE                    1 0/23/2007    77311092    TN SUNG HYUN



  Domains   / Website Content
                                                                                          E
    ‘‘ITrTl                                                   Status                             Host
                           Network
 videomining.com                           Active                                             Site 5
                           Solutions
                                           Active
 shopperfirst.com          GoDaddy
                                           Redirects to videomining.com
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                                                   Active
                                                                           Status
                                                                                                        I   -   Host

 shopperpro.com                  GoDaddy
                                                   Redirects to videomining.com
                                                   Active
 shopperimpact.corn              GoDaddy           Redirects to client portal    -




                                                   https ://videom in i ng.on el ogi n corn/I 0gm




  Data
  AZ) Aggregated and Unaggregated Data owned by VideoMining Corporation to include, but not
  limited to:

          Type                               Metric                                       Definition

                                                                      A count of all individuals who enter the
                             Store Traffic
                                                                      store.
                             Aisle Traffic (per 100 Store             A count of all individuals (per 100 store
                         .   Traffic)                                 traffic) who enter an aisle
                             Aisle exposure rate                      Aisle Traffic/Store Traffic
                             Category Traffic (per 100 Store          A count of all individuals (per 100 store
                             Traffic)                                 traffic) who enter a category
                             Category Exposure Rate                   Category traffic/Aisle traffic)
                             Category Shopper (per 100 Store          A count of all individuals (per 100 store
    Path-To-Purchase         Traffic)                                 traffic) who stop to engage with a category
                             Traffic Engagement %                     CategoryShopper/Category Traffic
                             Category Buyer (per 100 Store            A count of individuals (per 100 store traffic)
                             Traffic)                                 who bought a product from a category
                             Closure Rate    (%)                      Category Buyer/Category Shopper
                                                                      Total revenue from category shoppers (per
                             S   Revenue Per 100
                                                                      100 store traffic)
                                                                      The estimated monetary value of category
                             5   Leakage per 100                      shoppers (per 200 store traffic) who walk
                                                                      away without buying (leakage)
                                                                      The total time spent by a shopper in a
                                                                      category, or other area of interest. This is a
    Decision Analytics       Total Time in Category                   sum of time spent shopping and time spent
                                                                      navigating. This does not apply to traffic or
                                                                      passers by.
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         Type                          Metric                                     Definition

                                                             ,   Avg. time spent engaged with the category
                                                                 across all stops made by category shoppers
                                                                 - this does not include any time for which a
                        Avg. Shopping Time
                                                                 shopper was navigating the category, or
                                                                 other area of interest. This does not apply
                                                                 to traffic or passers by.
                                                                 A distribution of average shopping times
                        Shopping Time Distribution
                                                                 for a category, or region of interest
                                                                 Avg. number of stops made by category
                        Shopping Stops
                                                                 shoppers
                                                                 The total time spent navigating the
                                                                 category this does not include any time
                                                                          -




                        Navigation lime                          for which a shopper was engaged with the
                                                                 category, or other area of interest. This
                                                                 does not apply to traffic or passers by.
                                                                 Navigation time per linear foot of the
                        Navigation time Per ft
                                                                 category
                                                                 Avg category navigation time! Avg
                        Navigation complexity (%)
                                                                 category_shopping time
                        Decision Mix                             Pre-shelf and at-shelf decisions
                                                                 Percentage of aisle shoppers who shop first
                        First shopped category in an aisle
                                                                 at each category in the aisle.
                                                                 Given a category, most often shopped
                        Category in aisle shopped before
                                                                 category (in the same aisle) before and
                        and after
                                                                 after
                        Category traffic by DoE                  Category traffic broken down by Aisle DoE
                                                                 Category shoppers broken down by Aisle
                        Category shoppers by DoE
                                                                 DoE
                                                                 Sales generated per minute of time spent in
                        Time Productivity
                                                                 category (S/mm)
                                                                 Sales generated per foot of the category on
                        Space Productivity
                                                                 a daily basis (S/ft)
      Productivity                                               Sales generated by the category per
                        Value of Traffic (Exposure)
       Analytics                                                 Category Traffic
                                                                 Sales generated by the category per
                        Value of Shopper (Engagement)
                                                                 Category Shopper
                                                                 Sales generated by the category per
                        Value of Buyer (Conversion)
                                                                 Catgeory Buyer (a/k/a Avg. Basket)
   Basket Composition   Avg. Units Sold                          Avg. number of units in a basket
           or                                                    Breakdown of basket data by number of
                        Unit Based Trip Type
   Storewide Analysis                                            items purchased
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         Type                          Metric                                  Definition

                                                              Analysis of most often cross purchased
                       Cross-Purchase
                                                              items
                       Cross-Purchase Common                  Analysis of most often cross purchased
                       Groupings                              categories/common groups
                                   .       .                  Within a dept, how often are 1, 2, 3, 4 or S
                       Dept. Cat Distribution
                                                              categories bought.
                                                              Avg. basket after
                       Avg. Store Basket
                                                              discounts/promotions/coupons are applied
                                       .                      Avg. basket dollars before any
                       Total Transaction Dollars (Gross)       .


                                                              discounts/promotions/coupons are applied
                                       .                      Total sales after
                       Total Transaction Dollars (Net)
                                                              discounts/promotions/coupons are applied
                       Total Transaction Dollars              Avg. discounts/promotions/coupons
                       (Discount)                             applied to the basket
                       Total Transaction Units                Total units in a basket
                       Category Dollars (net)                 Avg. $ spent by a category buyer
                                               .              Avg. discounts/promotions/coupons
                       Category Dollars (discount)
                                                              applied to the category
                       Category Units                         Avg. units a category buyer purchased
                                   .                          Distribution of buyers of categories/store
                       Buyers by time segments
                                                              level over day parts (day parts tbd)
                       Brand level basket analysis            Analysis of brands across store baskets
                       Traffic Heat Map                                    Heat map of traffic
                       Shopping Activity Heat Map                         Heat map of shopper
                       Buyer heat map (nice to have)                      Heat map of buyers
                       Dollar heat map                                    Heat maps of dollars
                       Direction of Entry                                 Aisle traffic by DoE
                       Direction of Exit                                   Aisle traffic by DoE
     Aisle Dynamics    U-Turn                                          Avg. U-turn rate in an aisle
                       List_of_Categories_Visited_(Traffic)
                       List of Categories Shopped
                       (Shopper)
                       List of Shopping Times by
                       Categories Shopped
                       List of Navigation Times by
                       Categories Shopped

  Software / Firmware:
  All software and firmware developed and/or owned by VideoMining Corporation, including but
  not limited to:
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                                                     I                       Purpose
                                                             •Responsible for communicating with
                                                             the admin portal, downloading project
                                                             updates and sending errors reported by
                                                             various modules, status of cameras and
                                                             video server.
  Software       “PU         VMS Remote Server               •Record video streams and organize
                                                             videos on the hard drive.
                                                             •Runs the tracking algorithm, collects
                                                             the data output by the algorithm,
                                                             manages it on disk and sends it back to
                                                             the admin portal.
                                                             Calculates drift between remote VPU
  Software       VPU         VMS Time Synchronizer           and VMS2 main server (“The Admin
                                                             Portal)
                                                             Remotely update any remote VPU to a
  Software       VPU         VMS Remote Updater              specific version from any known
                                                             version
                                                             •ls the primary component that
                                                             handles all communication with the
             :                                               Remote Server sends updates to
                                                                            -




                                                             project files and receives status
                                                             updates as well as meta data
                                                              •lnterface to navigate to a particular
                                                             site, select a specific video server and
                                                             browse snapshots from each of the
  Software       HQ          VMS Admin Portal                cameras. This interface also shows the
                                                             status of various monitored states such
                                                             as camera interface, video stream
                                                             status, algorithm status etc.
                                                              •Set alerts on the values of various
                                                             states with the option to send
                                                             notification emails.
                                                              •Uses databases to manage all its
                                                             operations.
                                                             Whenever a new build of VMS Remote
                                                             Server is generated, the Delta builder
                                                             builds out a patch or delta between the
                                                         .   version that is deployed at a site and
  Software       HQ          VMS Delta Builder               the newly generated build.
                                                             Coordinating with the Remote Updater,
                                                             this patch is then copied over to the
                                                             remote server and the software is
                                                         :   patched to the latest build.
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                                                                      Purpose

                                                      •Contains models of each of the
                                                      supported cameras and uses these
                                                      models to create a camera coverage
                                                      map
                                                      •Create and update live project
                                                      settings this project file specifies
                                                              -




                                                      camera type along with video stream
                                                      parameters, The live project also
                                                      enables roles on the device these
                                                                                  -



  Software   HO           VMS GUI                     roles include but not limited to running
                                                      the Vision, Demographics or the Wi-Fi
                                                      app.
                                                      •ls used to setup offline remote or local
                                                      processing of videos with different
                                                      selections of tracking algorithms
                                                      (vision, face etc.)
                                                      •Can annotate videos load up videos
                                                                             -




                                                      and annotate various activities and
                                                      states
                                                      Bamboo build server- Build VMS
  Software   HO           VMS Cl  -
                                                      Software versions and make them
                                                      available via The Admin Portal (VMS2)
                                                      •Performs periodic checks for site
                                                      equipment health status collected
                                                      through AWS lambdas and loT
  Software   HO           TAP Health Monitoring
                             -


                                                      messages
                                                      •Automatically attempt to recover
                                                      devices and send alerts if unsuccessful
                                                      •Prepares new or updates site
                                                       resources including enabling roles
                                                      through AWS thing shadows
  Software   HO           TAP Setup & Configuration
                              -                        •Management of sites for viewing and
                                                      changing status such as enable and
                                                      disable data collection through AWS
                                                      certificates
                                                       •Remote access to devices for manual
                                                      control and debugging, ssh command
                                                       management
                                                       •Provides individual device access
  Software   HO           TAP Remote Access
                                                      through AWS loT messages and ssh for
                              -




                                                      on demand requests and commands to
                                                       specific apps including camera
                                                       movement and frame adjustments
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                                                        F
                                                              •Ability to create on demand reports
  Software                 TAP Report Builder
                               -                              dynamicafly from multiple database
                                                             sources
                                                              •Management of site equipment
  Software   HU            OmniTrackr Inventory
                                        -                     (cameras, switches, VPUs, Routers etc)
                                                             and tracking of equipment lifecycle
                                                              •Prepare devices for site deployment
                                                              by installing OS, quality assurance
                           OmniTrackr Deploy &
                                        -                    testing and configure devices as per
  Software   HG
                           Configure                         site config
                                                              •Manage deployment of devices for
                                                              necessary_replacements
                                                              •Generate assignments for annotation
                                                              users, build the project file with the
  Software   HG            Annotation Project Creator         assigned videos, collect statisics for
                                                              user completion rates
                                                              Raspbian OS with custom services to:
                                                              •monitor applications
                                                              •manage reporting
                                                              •storage
                                                              •communication with AWS and other
                                                              devices
  Software   OmniSensr     OmniSensr OS
                                                              •manage updates and remote
                                                              configuration.
                                                              Includes HealthApp, loT connector,
                                                              servocontroller, jr_controller,
                                                              mosquitto wrapper, customized web
                                                              pages
                                                              jenkins build server, deployment,
                                                              Bitbucket pipelines Produces
                                                                                 -




                                                              development and release builds of the
                                                              vml code base for all sensr based
  Software   Cmnisensr     OmniSensr OS Cl & CD
                                            -                 applications. Eventually intended to
                                                              automate the creation of AMI
                                                              Instances. Creates tagged OS releases
                                                              to support the remote OS upgrade
                                                              system.
                                                              Remote edge deployed omnisensr
  Software   OmniSensr     Vision App                         application to perform shopper
                                                            ._tracking
                                                              Remote
                                                                        edge deployed omnisensr
  Software   OmniSensr     Demographics App                   application to provide shopper
                                                            _demographics_at checkout
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 •                        Deployed
 •      Team                             1                Name                                         S
                II        Location      ii a.
                                                                           Includes both the Wi-Fi Trackr which
                                                                           aggregates Wi-Fl Sniffer packets into
                                                                           actual shopper trackes and the Wi-Fl
     Software        OmniSensr               Wi-Fi Apps
                                                                           Sniffer app which detects mobile
                                                                           devices and forwards their relative RSS
                                                                           to the remote trackr app
                                                                           Rules for filtering incoming data
                                                                           streams and managing storage. Parses
     Software        AWS                     AWS rules                     incoming data messages and forward
                                                                           to appropriate database tables to
                                                                           storage
                                                               .           How-to documentation for various
                                             Videomining Wiki pages (old
                                              .




     Software        HO                                                    software including concepts,setup and
                                             wiki’‘
                                                                           procedures
                                                          .                yolo enviroment for training algorithm,
                                             YOLO: Real-Time Object
     Software        HO                                                    annotation tool for creating boundaries
                                             Detection
                                                                           for objects to be detected.

                                                                           Platform that runs “apps” to
                                                                           1. process video streams to generate
                                                                           shopper track data
     Multiple        Stores                  OmniSensr                     2. collects and analyzes Wi-Fi signals to
                                                                           locate the source
                                                                           3. analyzes video stream to detect and
                                                                           track faces


     Data                                                                  Clean and move PUS documents in
                              HO             ETL helper scripts
     Services                                                              tandem with Alteryx P05 workflcws
     Data                                                                  Take POS data, format it, then load it in
                              HO             Alteryx CSI ETL
     Services                                                              our DBs
     Data                                                                  Take P05 data, format it, then load it in
                              HO             Alteryx CS ETL
     Services                                                              our DBs
     Data
                              HO             Alteryx Macros                Used in various Aiteryx Workflows
     Services
     Data                                                                  Output camera location from
                              HO             CameraLocFromCalib
     Services                                                              calibration
     Data                                                                  Generate report for categories inside
                              HO             CameraRegionOverlap           the camera
     Services
     Data                                                                  Change camera roles for gathering
                              HO             CameraRoles
     Services                                                              different data
     Data
                              VPU            CMS                           Generate snapshot for axis cameras
     Services
     Data
                              VPU            CMS_Omni                      Generate snapshot for omni cameras
     Services
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                                                      r
     Data                                                   Archive old camera snapshot to free
                             cmsArchiver
     Services                                               space
     Data                                                   Calculates cross shopper from getshop
                 HG          CrossShoppers
 i   Services                                               data
     Data                                                   Produce traffic and shoppers for
                 HG          Cs
     Services                                               convenience stores
     Data                                                   Adjust highres and lowres for the
                 HG          Dazzle
                                                            identified stores and cameras
         .


     Services
     Data                                                   Generates Heatmap for difference in
         .       HG          DeltaHeatmap
     Services                                               data in two time range
     Data                    displayTrackingRegionrromLiv   Displays the tracking regions of all the
                 HG
     Services                e                              live cameras on a floorplan
     Data                                                   Displays the tracking regions of project
         .       HG          DisplayTrackingRegions
     Services                                               file on a floorplan
     Data                                                   Generates Heatmap and Doe at same
                 HG          DOEandHeatmaps
                                                            time
         .


     Services
     Data                                                   Extracts the tracking and no tracking
                 HG          Extract Track noTrack
                                                            regions for camera tracking
         .


     Services                         —    —




     Data                    ExtractAndUploadcetShopAn      Extracts shopping regions and stores
                 HG
     Services                dNodeld                        into files

     Data                    ExtractAndUploadGetShopAn      Extracts shopping regions and stores
                 HG
     Services                dNodeld_S3                     into db


     Data                    ExtractAndUploadGetShopAn      Extracts shopping regions and stores
                 HG
     Services                dNodeldCSl                     into 3 output directory for csi

     Data                                                   various scripts to extract different style
                 HG          ExtractAnnotationData
                                                            of annotation files
         .


     Services
     Data                                                   windows exe to transfer files from
                 VPU         ftpTransferVideos
                                                            vpu’s to in house destination
             .


     Services
     Data
                 VPU         ftpVideoDownloader             old video downloading scnpt
     Services
     Data
         .       HG          GSI FullStore Scaling          generate scaling factors for new stores
     Services
     Data                                                   Generates info about status of
                 HG          LiveDataStatus
                                                            incoming data from camera
             .


     Services
     Data                                                   Tool to manage
                 HG          Magnus CalibrationUpload
                                                            ca Ii b ration (create/update/delete)
             .


     Services                         —




     Data                                                   python in house library for parsing
                 HG          parseAnnotationLib
                                                            annotation files
         .


     Services
     Data                                                   In house post processing pipeline
                 HG          POSSE
     Services                                               script- older version
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 •      Team                                                      I
                                                                        In house post processing pipeline
     Data
                       HO                POSSE_S3                       script- Newer version (in memory
     Services
                                                                        processing and file storage to AWS)
     Data                                                               Tool to setup new site; live project,
                       HO                POTM Site Setup
     Services                                                           calibration, vision settings
     Data                                                               Tool to manage camera join camera
         .             HO                teemo
     Services                                                           level files
                                                                        Final data generation tool which uses
     Data
         .             HO                Tinker2.Q                      various machine learning
     Services
                                                                      • methodologies to smooth final data
                                                                        Final data generation tool which uses
     Data                                                               various machine learning
                       HO                Tinker2.O regionFiles                     -
         .


     Services                                        —                  methodologies to smooth final data-
                                                                        older version which uses files
   Data                                                                 Various python scripts for simple
                       HO                UtilityScripts
         .


   Services                                                             camera workflows
   Data                                                                 workflow which check5 vision data
                       HO                Vision Availability
         .


 • Services                                                             status
     Data                                 .                             Tool to display tracking regions and
                       HO                Vision Debugging Tool
         .


     Services                                                           tracks of camera on floorplan
                                                                         Django Webapp which tracks the status
     Data
             .         HO                Django CameraStatus            of camera and data generation by each
     Services                                    —


                                                                        camera per store
                                                                         Python widows service which deletes
     Data                                                               older videos to make up space for
             .         VPU               Auto Deletion Policy
     Services                                                            newer ones
                                                                         Python windows exe which generated
     Da a                                                               vision final metrics for department
                       HO                bigRegionDataGenerator
     Services                                                            level regions
                                 I


     Data                                                               Various utility scripts to help perform
                       HO                UtilityScripts V2
     Services                                                —           day to day vision activities
                                                                       Library of proprietary Machine Learning
                                                                       tools and libraries which are used to
     Da a                                                              generate tracks on any given Camera
                 HOAnd VPU               VML
     Services                                                          including offline tracker, demographics
                                                                       model files etc.
     Data                                 .              .                .


                                                                       Wifi Cloud Postprocessing pipeline
          .      AWS                     Airflow Wifi
     Services
     Data                                                              Lambda scripts which trigger processes
                 AWS                     AWSLambda
     Services                        •
                                                                       in AWS
                                                                       Python based Windows service which
     eaiices     VPU                     Meepo                         help manage videos/keep inventory
                                                                       and also tracks camera and vpu status
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  Data                                                           Vision and Demographics Cloud
                 AWS               Airflow_vision
  Services                                                       Postprocessing pipeline

                                                                 Software pings all addresses in
                                                                 designated range for what pings and is
  IT             VPU               Super Scan
                                                                 online. Also, verify ports in use by
                                                                 specific IPs.
                                                                 NTP project with N. America time server
  IT             VPU               NTP                           designation. Keep devices synced in
                                                                 time-- 3 application suite
                                                                 Management software for Axis
  IT             VPU               Axis Camera Mgmt
                                                                 manufactured cameras
                                                                 Management tool to find and manage
  IT             VPU, IT PC        Business Switch Config Tool   Buffalo switches on network
                 VPU, VMITPI, IT                                 Remote session access software for
  IT                               TeamViewer 12                 various operating systems
                                                                 NOIP Dynamic DNS connection
  IT             VPU               DUC Client                    manager for remote VPN connections
                                                                 Video Data Database usage by Data
  IT             VPU               Mongo Database
                                                                 Services
                                                                 Secure Shell connection, Serial Bus
                 VPU, Desktop                                    connection tool for various peripherals,
  IT                               Putty
                 PCs                                             OmniSensr backend
                 VPU, Desktop                                    GUI & CLI 5SF-I, Serial connector for
  IT                               Bitvise                       vanous peripherals
                 PCs
                                                                 DataServices tool for monitoring activity
  IT             VPU               Meepo                         and processes within VPUs related to
                                                                 projects
                                                                 Source code managing and program
  IT             VPU               Git                           settings config
                                                                 Python language works with Git and
  IT             VPU               Python 2.7                    other install configurations, various
                                                                 program code written in Python
                                                                 Windows software usually with
  IT             VPU               Microsoft NET framework       Windows update works to allow Python,
                                                                 Sit to function properly
                                                                 Contains compiler and system headers
  IT             VPU               C++ Compiler for Python       to make binary wheels for Python
             .
                                                                 packages
                                                                 DataSeivices tool for commands to
  IT             VPU               sshcmdblast                   VPUs
                 VPU, Desktop                                     Excellent tool for coding, scripting,
  IT                               NotePad++
                 PCs                                             works with MongoDS and other apps
                                                                 Internet browser that works well with
                 VPU, Desktop                                    Flash and other apps, easy http
  IT                               Google Chrome
                 PCs                                             navigating1 better than Internet Explorer
                 Ubuntu & Linux                                  Google Chrome browser like above but
  IT                               Chromium                       best formatted for Linux OS devices
                 systems
                 Ubuntu & Linux                                   Remote desktop client that works great
  IT                               Rem mm a                      on Linux systems
                 systems
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                                                                                                Purpose
 r
                1   aS   rtp
                                                                               MS Office suite for various documents,
                    Deskltop PCs           Microsot Office 2013 or newer       spreadsheets, presentations and email
                                                                               management for all departments
                                                                               Management of Hypervisor Type 1
  IT                VMESX, IT PC           VSphere Client                      virtualization software clients from
                                                                               remote hosts
                                                                               Individual clients run on hosts Type 1 &
  IT                VMWare                 VMWare Virtual Machines             2 virtualization. Very helpful for running
                                                                               32 bit apps, OS testing
                                                                               Management for invoicing and billing,
                    Acct & Finance
  IT                                       QuickBooks                          AP, AR, office utilities, supplies along
                    PCs
                                                                               with vendor & ISP management
                                                                               Utilizes exclusive Dell Service Tags to
                    Dell Deskt OP
  IT                                       Dell Support Tool                   identify driver, BIOS updates and overal
                    PCs
                                                                               PC health
                                                                               Synology NAS assistant to find
  IT                IT PC                  Synology Assistant                  Synology Network Attached Storage
                                                                               devices
                    vmit-controller,                                           Wasp printer software for bar code
  IT                                       Was p Software
                    vmcstewart                                                 creation, small label printer
                                                                               Program for creating backups and
  IT                USB drives             Acronis                             restoration of smaller hard drive..good
                                                                               for VPUs but not office machines
  IT                USB drives, CDs        CloneZilla,                         Good imaging program for various OS’s
                                                                               Instruction for creating Raspberry Pi
  IT                Wiki VMUtiIs           How to P112 a VMIT P1               DHCP backdoor devices for resetting
                                       [                                       routers and other devices on site
                                                                               Database of information, instructions,
  IT/               VideoMining                                            ‘   Tutorials, form creation for various
                                           Wiki
  Engineering       Wiki                                                       processes, tools for OmniSensrs and
                                                                               projects
                                                                               Documentation for explanation of
                                           How to configure a router
                                                                               various router features and proper way
                                 ,


  IT                Vmsharepointsvr
                                           remotel y
                                                                               to configure one remotely
                                                                               Gets Windows key from various
  IT                IT PC                  KeyFinderlnstaller


                                                                               Tracks number of hours and Event
  Annotation                               Cost Record                         counts of each annotator by program,
                                                                               project, period, site, task, and subtask,
         .                                                                     Collect Event behaviors from recorded
  Annotation                               VMS with GUI 5.6
                                                                               video
                                                                               Full Store Tracker (FST) is an application
                                                                               that
                                                                                permits the tracking of a person across
  Annotation                               Full Store Tracker                  multiple
                                                                                cameras. The data file generated is a
                                                                               record of
                                                                                the tracks in their entirety (trajectory).
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                                                                         IM

                                                     Build blank vmproj, manually add
  Annotation              bu i Id_scree nshot_proj
                                                     camera transitions (FST)
                                                     Custom Full Store Tracker data
  Annotation              FST Import/Export
                                                     formating (Tracking Algo)
  Annotation              Project Factory            Annotator assignment database

  Annotation              Generate Assignments       Project Factory assignment generator

                                                     FTP videos from a remote site to a local
  Annotation              Video Downloader
                                                     server
                                                     FTP pull video from a remote site NAS
  Annotation              NAS Video Downloader
               .                                     to a local server
                                                     Copy select video from returned HDD
  Annotation              Video Copy
                                                     to a local server
  Annotation              Valid Video Checker        Inventory VPU video by date
                                                     Stitch cameras together for a larger
  Annotation              Stitch Video
                                                     annotation/viewing area
                                                     Change video dimensions, FPS, rotate,
  Annotation              Change Video Properties
                                                     brightness, contrast
                                                     Synchronize video time offset between
  Annotation              Video Time Offset
                                                     VPUs
                                                     Converts VMS tokenized data to human
  Annotation              Extract Annotation Data
                                                     format
                                                     Convert annotation data to scaling
  Annotation              Scaling
                                                     format
                                                     Multi-category, standard shopper
  Annotation              Shopper Impact
                                                     metrics, Demos, Interaction
                                                     same as above with Non-Navigation
  Annotation              Shopper Impact Non-Nay
                                                     Time segregated
                                                     used alone or to generate Full Store
  Annotation              Entrance Demos TracklO
                                                     Track indices
                                                     Type, Groups, Demos, Time (InLine,
  Annotation              Checkout
                                                     Wait, Unload, Checkout)
                                                     same as above with ShoppingTime,
  Annotation              FrontEnd Checkout
                                                     Categories, Location, Units
                                                     used alone or to generate Full Store
  Annotation              Checkout Demos TracklD
                                                     Track indices
                                                     CarID, TxnlD, GrouplO,
  Annotation              CSI-Pump to Basket
                                                     CategoriesBought
                                                     Ties Forecourt, Entrance, Checkout,
  Annotation              CSI-MegaStudy Annotation
                                                     TimelnStore w/txn_id
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                                                             I
                                                                  Group totals by type, weekday, hour,
 I   Annotation                   CSI-MegaStudy Groups
                                                                  includes age breakout
                                                                  Totals by weekday and hour:
                                                                  ForecourtTraffic, StoreTraffic,
                                                                  PeoplelnLine, CheckoutTime,
     Annotation                   CSI-MegaStudy Site
                                                                  TimelnStore, Individuals, Groups,
                                                                  GroupTypes, Buyers, Non-Buyers(Fuel
                                                                  and N/A), Leakage
                                                                  Standard metrics, Interaction, D0E/X,
     Annotation                   CSl-Beer
                                                                  Cave time
                                                                  Demos, GroupSize, Dress, Interactions,
     Annotation                   Tobacco Shopper
                                                                  ID actions, Denials
                                                                  Target optimal category purchase
     Annotation                   Category PoS Count
                                                                  hours from PoS
                                                                  Demos, Initiallnteraction,
                                                                  CategorySequence, TimelnStore,
     Annotation                   Store Category Sequence
                                                                  ShopsWhileWaiting, WaitingTime,
                                                                  InteractionTime, DeskTime
                                                                  MySQL Queries:
                                  MySQL Workbench:
                                                                   -txns/day, stores by retailer, dates by
                                  -General Info
                                                                  store, dates by retailer
     Annotation                   -PoS with upc_dsc
                                                                   -by date list or date range
                                  -PoS with upc_dsc unique
                                                                  -  unique 3_tran_master structure
                                  -PoS by Store
                                                                  -  no upc_dsc


     Third party software
     Annotation                   AviSynth
                                  MS Access
                                                                 } GNU General Public License (GPL) 2.0
     Annotation
     Data                         Python 2.7                      GNU Public License (GPL) compatible
     Services
     Data                                                         MongoDB, Inc’s Server Side Public
                                  Mongodb                         License
     Services
     Data                                                         GNU Public License (GPL)
                                  MySqi
     Services
     Data                         docker                          Apache 2.0 license
     Services
     Data                         Airflow Apache                  Apache License
     Services
     Data                                                         OSI Open Source License
                                  Django
     Services
     Data                         APScheduler                     MIT license
     Services
     Data                         beautifulsoup4                  MIT license
     Services
     Data
     Services     [               boto                            Apache License, Version 2.0
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                                  I                     -   I
  Data                                           Apache License, Version 2.0
                          boto3
  Services
  Data
                          filechunkio            MIT license
  Services
  Data                                           BSD License (BSD)
                          Flask
  Services
  Data                                           BSD License (SSD)
                          GitRython
  Services
  Data                                           GNU Public License (GPL)
                          jsonlib
  Services
  Data                                           BSD License (BSD)
                          lxml
  Services
  Data                                           GPL and CNRI license
                          MySUL-python
  Services
  Data                    pandas                 BSD License (BSD)
  Services
  Data                    paramiko               GNU Public License (GPL)
  Services
  Data                                           PIL Software License
                          PIL,Pillow
  Services
  Data                    pymongo                Apache License, Version 2,0
  Services
  Data                    requests               Apache License, Version 2.0
  Services
  Data                    Shapely                BSD License (BSD)
  Services
  Data                    sklearn                BSD License (BSD)
  Services
  Data                    SQL-Alchemy            MIT license
  Services
  Data                    statlib                MIT license
  Services
  Data                    virtualenv             MIT license
  Services
  Data                    virtualenvwrapper      Copyright Doug Hellmann
  Services
  Data                    Yapsy                  BSD License (BSD)
  Services
  Software                Python                 BSD License (BSD)
  Software                Celery                 BSD License (BSD)
  Software                Django                 BSD License (BSD)
  Software                Apache                 Apache License 2.0
  Software                Nginx                  BSD License (BSD)
  Software                Gunicorn               MIT License
  Software                Supervisor             BSD License (BSD)
  Software                Monit                  AGPL 3.0
                                                 httpsi/www.bitvise.com/files/license/Bv
  Software                Bitvise                SshServer-EULA-201 80701 .pdf
  Software                Putty                  MIT License
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                                                    I                      Purpose

  Software                java                          GNU Public License (GPL)
  Software                virtualenv                    MIT license
  Software                boto3                         Apache License, Version 2.0
  Software                docker                        Apache 2.0 license
  Software                mysql-python                  GPL and CNRI license
  Software                paho                          Eclipse Public License
                                                        Creative Commons Attribution 4.0
  Software                mqtt mosquitto
                                                        International License
  Software                paramiko                      GNU Public License (GPL)
  Software                PIL,Pillow                    PIL Software License
  Software                MySqI                         GNU Public License (GPL)
  Software                sklearn                       BSD License (SW)
  Software                requests                      Apache License, Version 2.0
  Software                Eclipse                       Eclipse Public
  Software                Git                           GNU Public License (GPL)
  Software                Redis                         BSD License (BSD)
  Software                RabbitMQ                      Mozilla Public License
  Software                Jupyter Notebook              BSD License (BSD)
  Software                pandas                        BSD License (BSD)
  Software                Spring Framework              Apache License, Version 2.0
  Software                jQuery                        MIT license
  Software                AngulariS                     MIT license
  Software                Bootstrap                     MIT license
  Software                Google Charts                 Apache License, Version 2.0
  IT                      Superscan                     Freeware
  IT                      KeyFinder                     OTT Solutions, Free
  IT                      SuperAntiSpyware              SuperAntiSpyware Free
  IT                      MicroSoft Office              MAK License
  IT / AP                 Quickbooks                    Multi User paid license
  IT                      NTP                           Open Source licensure
  IT                      Axis Camera Mgmt              Free   —   manufacturer support tool

  IT                      Business Switch Config Tool   Free   —   manufacturer support tool

  IT                      TeamViewer 12                 Multi Seat License
  IT                      DUC Client                    freeware

  IT                      C++ Compiler for Python       Free

  IT                      NotePad++                     Freeware
  IT                      Google Chrome                 Free
  IT                      Chromium                      Free
  IT                      Remmina                       Free
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 1                        VSphere Client                    Subscription license & warranty

  IT                      VMWare Virtual Machines           Subscription license & warranty

  IT                      QuickBooks                    [   Subscription license & warranty
  IT                      Dell Support Tool                 Free manufacturer support tool
                                                                 —



  IT                      Synology Assistant                Free manufacturer support tool
                                                                 —




  IT                      Wasp Software                     Free manufacturer support tool
                                                                 —




 _IT                      Acronis                           license unknown
  IT                      CloneZilla,                       freeware
  Repositories:
                                                            Repo for post processing pipehnes for
  Assorted                airflow vision
                                    —                       post processing vision meta data
                                                            Annotation tool for project creation and
  Assorted                AnnoProjMan
                                                            assign videos to users for annotation.
                                                            AWS lambda scripts for triggering post
  Assorted                AWSLambda
                                                            processing
                                                            Backing up databases that contain meta
  Assorted                DB_Backup_Scripts                 data, post processed track data, pos
                                                            data etc.
  Assorted                IambdaVision                      AWS lambda scripts for       <Nakul>
                                                            Python based Windows service which
  Assorted                Meepo                             help manage videos/keep inventory
                                                            and also tracks camera and vpu status
                                                            •Management of site equipment
                                                            (cameras, switches, VPUs, Routers etc)
                                                            and tracking of equipment lifecycle
                                                            •Configure devices as per site config,
                                                            run QA and manage deployment
                          OmniTrackr
                                .


  Assorted                                                  •Prepare devices for site deployment by
                                                            installing OS, quality assurance testing
                                                            and configure devices as per site config
                                                            •Manage deployment of devices for
                                                            neccessary replacements’
                                                            Used to ssh into a list of specified
  Assorted                sshCmdRlast                       devices and execute commands
                                                            remotely.
                                                            Entire source code for all core video
                                                            and computervision libraries as well as
  Assorted                vml                               apps that run on OmniSensr video
                                                                                         -




                                                            tracker, demographics, Wi-Fl, Health,
                                                            loT Connector etc.
                          Object_Training_Annotation_       Annotation tool for marking up images
  A 55 orted              Tool                              to train the yolo algorithm

  FormerDevs              OmniSensrOS_Jimmy                 Jimmy’s forked repo of OmniSensrOS
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                                                                   I.                                     ...




                                                                        Jimmy’s forked repo of OmniSensr
     FormerDevs                           omnisensr-runnersjimmy
                                                                        runners
     FormerDevs                           vmljimmy                      Jimmy’s forked repo of vml
                                                                        App that monitors health of various
     HealthApp
                  L                       Pi_Health                     services, restarts them if necessary and
                                                                        reports statistics on state of OS
                                                                        This repo is for the storage of small-to-
                                                                        medium sized files that need
                                                                        to be deployed on either all OmniSensrs
     OmniOS                               OmniData                      or all EC2 postprocessing
                                                                        machines. Examples of these kinds of
                                                                        files would be models needed
                                                                        for classification or configuration files.
                                                                        This repo stores all versions of
     OmniOS                               Omnisensr Images
                                                      —                 OmniSenserOS images
                                                                        OS that runs on the OmniSensr has-




     OmniOS                               OmniSensrOS                   the runtime environment, services, apps
                                                                        etc.
                                                                        A runner/faciolitator that patches the OS
     OmniOS                               omnisensr_runners             to the latest version, This is the client
                                                                        side of our homegrown CD solution
                                                                        This is the USB MSD boot code to flash
 .   OmniOS                               usbboot                       OmniSensr with the current OS version.
                                                                        Hardware level source code for
                                          OmniSensrV2
         .


     OmniOS                                                             OmniSensrV2
     Support                                                            This is the new admin portal.
                                          post portal
     Web Apps         i________________       —




     Other:
        I. All Corporation Files and file cabinets containing the files
        2. All customer files.
        3. All software contained on the computers including Operating systems, accounting
           software, office software, operating systems, etc.
        4. All computer data not specifically listed, including but not limited to email, word
           documents, PowerPoint presentations, etc.
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                                SCHEDULE 2.2


                           (List of Assigned Contracts)


  Counterparty             Description of Contract/Lease    Curc Obligation




                    TO BE COMPLETED PRIOR TO CLOSING
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                              SCHEDULE 2.3(h)


                          (Additional Excluded Assets)

                                    NONE
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                                            SCHEDULE 2.4

                         (Obligations Assumed Under Assigned Contracts)



    1.   Customer Orders not yet delivered. Final list to be determined at closing.
    2.   Thorntons Agreement dated
    3.   Racetrac Petrollum Agreement dated
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                               SCHEDULE 4.3


                              (Required Consents)

                                    NONE
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                               SCHEDULE 4.6


                                  (Permits)


                                   NONE
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                                       SCHEDULE 4.7


                                         (Litigation)

  Litigation, except for amounts listed on Seller’s Bankruptcy Schedules and claims and
  pleadings filed with the Bankruptcy Court:

                                            NONE
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                                           SCHEDULE 4.9


                         (Employees; Collective Bargaining Agreements)


  A. Employee List
  Employee           Position                          Type     Hire Date    Status
  Amanda Craven      Annotation Mgr.                   Salary   4/17/2017    Active
  Brennan Spicer     Annotator                         Hourly    4/9/2018    Active
  Caitlin Ciolkosz   Insights Analyst                  Salary   4/17/2017    Active
  Colleen Houtz      Annotator                         Hourly   1/31/2018    Active
  Darryl M. Hill     Annotation Mgr.                   salary    3/2/2016    Active
  Gary Panulla       Senior Software Engineer          Salary    2/9/2015    Active
  James Brennan      VP of Analytical services         salary    4/2/2012    Active
  Justin Sumpman     Annotator                         Hourly   12/5/2017    Active
  Kristin Eberle     Insights Analyst                  salary   2/16/2021    Active
  Lydia Perla        software Engineer                 Salary   10/17/2014   Active
  Nisha Sharma       Intellectual Property Mgr.        Salary   8/11/2014    Active
  Rajeev Sharma      CEO                               Salary      2001      Active
  Richard Hirata     Insights Consultant (part time)   Hourly    1/1/2015    Active
  Robert shore       IT Technician                     salary    9/1/2017    Active
  Steven Engblom     Annotator                         Hourly    4/9/2018    Active

  B. Salary information has been provided by Seller to Buyer.

  C. Collective Bargaining Agreements.        None.
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                                 SCHEDULE 7.3


                        (Allocation of Total Consideration)



                       To be determined by Buyer at Closing.
